                                      IN THE UNITED STATES DISTRICT COURT
                                     FOR THE WESTERN DISTRICT OF VIRGINIA
                                               DANVILLE DIVISION

    UNITED STATES OF AMERICA                                              )
                                                                          )
                        v.                                                )         CRIMINAL NO. 4:18-CR-00011
                                                                          )
    MARCUS JAY DAVIS, et al.,                                             )
                                                                          )
                        Defendants.                                       )


                                            PROPOSED JURY INSTRUCTIONS



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                                      Part I - General instructions
           Instruction No. 1: Introduction to the Final Charge – Province of the Court
                                        and of the Jury

           Members of the jury:

           Now that you have heard all of the evidence that is to be received in this trial and each of

   the arguments of counsel it becomes my duty to give you the final instructions of the Court as to

   the law that is applicable to this case. You should use these instructions to guide you in your

   decisions.

           All of the instructions of law given to you by the Court – those given to you at the

   beginning of the trial, those given to you during the trial, and these final instructions – must

   guide and govern your deliberations.

           It is your duty as jurors to follow the law as stated in all of the instructions of the Court

   and to apply these rules of law to the facts as you find them to be from the evidence received

   during the trial.

           Counsel have quite properly referred to some of the applicable rules of law in their

   closing arguments to you. If, however, any difference appears to you between the law as stated

   by counsel and that as stated by the Court in these instructions, you, of course, are to be

   governed by the instructions given to you by the Court.

           You are not to single out any one instruction alone as stating the law, but must consider

   the instructions as a whole in reaching your decisions.

           Neither are you to be concerned with the wisdom of any rule of law stated by the Court.

   Regardless of any opinion you may have as to what the law ought to be, it would be a violation

   of your sworn duty to base any part of your verdict upon any other view or opinion of the law

   than that given in these instructions of the Court just as it would be a violation of your sworn

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   duty, as the judges of the facts, to base your verdict upon anything but the evidence received in

   the case.

          You were chosen as juror for this trial in order to evaluate all of the evidence received

   and to decide each of the factual questions presented by the allegations brought by the

   government in the First Superseding Indictment and the plea of not guilty by the defendant.

          In resolving the issues presented to you for decision in this trial you must not be

   persuaded by bias, prejudice, or sympathy for or against any of the parties to this case or by any

   public opinion.

          Justice – through trial by jury – depends upon the willingness of each individual juror to

   seek the truth from the same evidence presented to all the jurors here in the Courtroom and to

   arrive at a verdict by applying the same rules of law as now being given to each of you in these

   instructions of the Court.




   AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
   and Instructions, § 12.01 (6th ed. 2015).




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                              Instruction No. 2: Judging the Evidence

          There is nothing particularly different in the way that a juror should consider the evidence

   in a trial from that in which any reasonable and careful person would deal with any very

   important question that must be resolved by examining facts, opinions, and evidence. You are

   expected to use your good sense in considering and evaluating the evidence in the case. Use the

   evidence only for those purposes for which it has been received and give such evidence a

   reasonable and fair construction in the light of your common knowledge of the natural tendencies

   and inclinations of human beings.

          If the defendant be proved guilty beyond a reasonable doubt, say so. If not proved guilty

   beyond a reasonable doubt, say so.

          Keep constantly in mind that it would be a violation of your sworn duty to base a verdict

   upon anything other than the evidence received in the case and the instructions of the Court.

   Remember as well that the law never imposes upon a defendant in a criminal case the burden or

   duty of calling any witnesses or producing any evidence because the burden of proving guilt

   beyond a reasonable doubt is always with the government.




   AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
   and Instructions, § 12.02 (6th ed. 2015).




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     Instruction No. 3: Evidence Received in the Case – Stipulations, Judicial Notice, and
                                   Inferences Permitted

        The evidence in this case consists of the sworn testimony of the witnesses, all exhibits

 received in evidence, all facts which may have been agreed to or stipulated, and all facts and

 events which may have been judicially noticed.

        When the attorneys on both sides stipulate or agree as to the existence of a fact, you must

 accept the stipulation as evidence and regard that fact as proved.

        If the Court declares that it has taken judicial notice of some fact or event, you may

 accept the Court’s declaration as evidence and regard as proved the fact or event which has been

 judicially noticed.

        Any proposed testimony or proposed exhibit to which an objection was sustained by the

 Court and any testimony or exhibit ordered stricken by the Court must be entirely disregarded by

 you.

        Anything you may have seen or heard outside the Courtroom is not evidence and must be

 entirely disregarded.

        Questions, objections, statements, and arguments of counsel are not evidence in the case,

 unless made as an admission or stipulation of fact.

        You are to base your verdict only on the evidence received in the case. In your

 consideration of the evidence received, however, you are not limited to the bald statements of the

 witnesses or to the bald assertions in the exhibits. In other words, you are not limited solely to

 what you see and hear as the witnesses testify or as the exhibits are admitted. You are permitted

 to draw from the facts which you find have been proved such reasonable inferences as you feel

 are justified in the light of your experience and common sense.



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                                    3164
 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 12.03 (6th ed. 2015) (modified); see also 1-5 L. Sand et al., Modern Federal
 Jury Instructions - Criminal, ¶ 5.02, Instruction 5-6 (2015).




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                                    3165
                     Instruction No. 4: Direct and Circumstantial Evidence

        There are two types of evidence which are generally presented during a trial – direct

 evidence and circumstantial evidence. Direct evidence is the testimony of a person who asserts

 or claims actual knowledge of a fact, such as an eyewitness. Circumstantial evidence is proof of

 a chain of facts and circumstances indicating the existence of a fact. The law makes no

 distinction between the weight or value to be given to either direct or circumstantial evidence.

 Nor is a greater degree of certainty required of circumstantial evidence than of direct evidence.

 You should weigh all the evidence in the case.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 12.04 (6th ed. 2015).




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                                    3166
                        Instruction No. 5: Inferences from the evidence


        Inferences are simply deductions or conclusions which reason and common sense lead

 the jury to draw from the evidence received in the case. As the finders of fact, you are permitted

 to make all reasonable inferences from the evidence.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 12.05 (6th ed. 2015) (modified).




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                                    3167
                         Instruction No. 6: Jury’s recollection controls


        If any reference by the Court or by counsel to matters of testimony or exhibits does not

 coincide with your own recollection of that evidence, it is your recollection which should control

 during your deliberations and not the statements of the Court or of counsel.

        You are the sole judges of the evidence received in this case.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 12.07 (6th ed. 2015).




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                                    3168
                     Instruction No. 7: The Question Is Not Evidence


        The questions asked by a lawyer for either party to this case are not evidence. If a

 lawyer asks a question of a witness which contains an assertion of fact, therefore, you may not

 consider the assertion by the lawyer as any evidence of that fact. Only the answers are

 evidence.

        In addition, during the course of a trial, I may occasionally ask questions of a witness.

 Do not assume that I hold any opinion on the matters to which my questions may relate. The

 Court may ask a question simply to clarify a matter - not to help one side of the case or hurt the

 other side.

        Remember at all times that you, as jurors, are the sole judges of the facts of this case.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, §§ 11.05, 12.08 (6th ed. 2015).




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                            Instruction No. 8: Objections and Rulings


        Testimony and/or an exhibit can be admitted into evidence during a trial only if it meets

 certain criteria or standards. It is the sworn duty of the attorney on each side of the case to

 object when the other side offers testimony or an exhibit which that attorney believes is not

 properly admissible under the rules of law. Only by raising an objection can a lawyer request

 and then obtain a ruling from the Court on the admissibility of the evidence being offered by the

 other side. You should not be influenced against an attorney or his or her client because the

 attorney has made an objection.

        Do not attempt, moreover, to interpret my rulings on objections as somehow indicating

 how I think you should decide this case. I am simply making a ruling on a legal question

 regarding that particular piece of testimony or exhibit.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 11.03 (6th ed. 2015).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 16 of 138 Pageid#:
                                    3170
    Instruction No. 9: Presumption of Innocence, Burden of Proof, and Reasonable Doubt
        The law presumes a defendant to be innocent of crime. Thus, the defendants, although

 accused of crimes in the First Superseding Indictment, begin the trial with a “clean slate” – with

 no evidence against them. The law permits nothing but legal evidence presented before the jury

 in court to be considered in support of any charges against the defendants. The presumption of

 innocence alone, therefore, is sufficient to acquit a defendant, unless the jurors are satisfied

 beyond a reasonable doubt of a defendant’s guilt after careful and impartial consideration of all

 the evidence in the case.

        It is not required that the government prove guilt beyond all possible doubt. The test is

 one of reasonable doubt.

        The jury will remember that a defendant is never to be convicted on mere suspicion or

 conjecture.

        The burden of proof is upon the prosecution to prove guilt beyond a reasonable doubt.

 This burden never shifts to a defendant for the law never imposes upon a defendant in a criminal

 case the burden or duty of calling any witnesses or producing any evidence. The defendant is

 not even obligated to produce any evidence by cross-examining the witnesses for the

 government.

        So if the jury, after careful and impartial consideration of all the evidence in the case, has

 a reasonable doubt that the defendant is guilty of a charge, it must acquit on that charge.


 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 12.10 (6th ed. 2015) (modified), amended to conform with present state of
 law that no specific definition of reasonable doubt be given. See United States v. Walton, 207
 F.3d 694, 695 (4th Cir.), cert. denied 531 U.S. 865, 121 S.Ct. 158, 148 L.Ed.2d 106 (2000);
 United States v. Reives, 15 F.3d 42, 45 (4th Cir.1994); United States v. Headspeth, 852 F.2d 753,
 755 (4th Cir. 1988); United States v. Porter, 821 F.2d 968, 972 (4th Cir. 1987); United States v.
 Valezquez, 847 F.2d 140, 142-43 (4th Cir. 1988); United States v. Woods, 812 F.2d 1483, 1487
 (4th Cir. 1987); United States v. Love, 767 F.2d 1052, 1060 (4th Cir. 1985); United States v.
 Moss, 756 F.2d 329 (4th Cir. 1985).

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                      Instruction No. 10: Consider Each Count Separately


        A separate crime is charged against one or more of the defendants in each count of the

 First Superseding Indictment. Each charge, and the evidence pertaining to it, should be

 considered separately by the jury. The fact that you may find one defendant guilty or not guilty

 of one of the offenses charged should not control your verdict as to any other offense charged

 against that defendant or against any other defendant. You must give separate and individual

 consideration to each charge against each defendant.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, §§ 12.12, 12.13 (6th ed. 2015).




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                                    3172
                   Instruction No. 11: Consider Each Defendant Separately


        It is your duty to give separate and personal consideration to the case of each defendant.

 When you do so, you should analyze what the evidence in the case shows with respect to that

 defendant, leaving out of consideration entirely any evidence admitted solely against some other

 defendant or defendants.

        Each defendant is entitled to have his case determined from evidence as to his own acts,

 statements, and conduct and any other evidence in the case which may be applicable to him.

        The fact that you return a verdict of guilty or not guilty to one defendant should not, in

 any way, affect your verdict regarding any other defendant.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 12.14 (6th ed. 2015).




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                     Instruction No. 12: The Indictment Is Not Evidence


        In a moment, I will read to you portions of the First Superseding Indictment. An

 indictment is only a formal method used by the government to accuse a defendant of a crime. It

 is not evidence of any kind against the defendant. A defendant is presumed to be innocent of

 the crimes charged. Even though this First Superseding Indictment has been returned against a

 defendant, a defendant begins this trial with absolutely no evidence against him.

        The defendants have plead “not guilty” to this First Superseding Indictment and,

 therefore, deny that they are guilty of the charges.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 13.04 (6th ed. 2015).




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                                    3174
                         Instruction No. 13: “On or About” – Explained


        The First Superseding Indictment charges that the offense alleged was committed “on or

 about” and “on or around” certain dates.

        Although it is necessary for the government to prove beyond a reasonable doubt that the

 offense was committed on dates reasonably near the dates alleged, it is not necessary for the

 government to prove that the offense was committed precisely on the dates charged.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 13.05 (6th ed. 2015).




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                                    3175
                          Instruction No. 14: Proof May Be Disjunctive


        I instruct you that although the First Superseding Indictment may charge a defendant with

 committing an offense in several ways, using conjunctive language (that is, “and”), it is

 sufficient if the government proves the offense in the disjunctive (that is, “or”). That is to say,

 the jury may convict on a unanimous finding of any of the elements of a conjunctively charged

 offense.

        Therefore, I instruct you that it is not necessary for the government to prove that the

 defendant did each of those things, named in that particular count of the First Superseding

 Indictment. It is sufficient if the government proves beyond a reasonable doubt that a defendant

 did one of the alternative acts as charged, as long as you all agree that the same particular

 alternative act was committed by a defendant, and that every element of the offense has been

 proven beyond a reasonable doubt. I will explain this further when I instruct you on the

 substantive counts charged.




 AUTHORITY: United States v. Simpson, 228 F.3d 1294, 1300 (11th Cir. 2000) (where an
 indictment charges in the conjunctive several means of violating a statute, a conviction may be
 obtained on proof of only one of the means, and the jury instruction may be properly framed in
 the disjunctive); United States v. Rhynes, 196 F.3d 207, 242, (4th Cir. 1999), aff’d in part, reh’g
 en banc on other grounds, 218 F.3d 310 (2000) (when a statute is worded in the disjunctive,
 federal pleading requires the government to charge in the conjunctive, but the district court can
 instruct the jury in the disjunctive).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 22 of 138 Pageid#:
                                    3176
                       Instruction No. 15: Opinion Evidence – The Expert Witness


         As I explained during trial, the rules of evidence ordinarily do not permit witnesses to

 testify as to their own opinions or their own conclusions about important questions in a trial. An

 exception to this rule exists as to those persons who are described as “expert witnesses.” An

 “expert witness” is someone who, by education or by experience, may have become

 knowledgeable in some technical, scientific, or very specialized area. If such knowledge or

 experience may be of assistance to you in understanding some of the evidence or in determining

 a fact, an “expert witness” in that area may state an opinion as to a matter in which he or she

 claims to be an expert.

         You should consider each expert opinion received in evidence in this case and give it

 such weight, if any, as you may think it deserves. You should consider the testimony of expert

 witnesses just as you consider other evidence in this case. If you should decide that the opinion

 of an expert witness is not based upon sufficient education or experience, or if you should

 conclude that the reasons given in support of the opinion are not sound, or if you should

 conclude that the opinion is outweighed by other evidence, you may disregard the opinion in part

 or in its entirety.

         As I have told you several times, you – the jury – are the sole judges of the facts of this

 case.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 14.01 (6th ed. 2015).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 23 of 138 Pageid#:
                                    3177
                     Instruction No. 16: Charts and Summaries – Admitted


        Charts or summaries have been prepared by the government, have been admitted into

 evidence, and have been shown to you during the trial for the purpose of explaining facts that are

 allegedly contained in books, records, or other documents which are also in evidence in the case.

 You may consider the charts and summaries as you would any other evidence admitted during

 the trial and give them such weight or importance, if any, as you feel they deserve.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 14.02 (6th ed. 2015).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 24 of 138 Pageid#:
                                    3178
              Instruction No. 17: Specific Investigation Techniques Not Required


        During the trial you have heard testimony of witnesses and argument by counsel that the

 government did not utilize specific investigative techniques. For example, certain DNA swabs

 were not tested against the defendant’s DNA. You may consider these facts in deciding whether

 the government has met its burden of proof, because as I told you, you should look to all of the

 evidence or lack of evidence in deciding whether the defendant is guilty. However, you also are

 instructed that there is no legal requirement that the government use any of these specific

 investigative techniques to prove its case. There is no requirement to attempt to take

 fingerprints, or that the government offer fingerprint or DNA evidence in evidence. Law

 enforcement techniques are not your concern. In fact, some of this evidence may not have

 existed for the government to produce.

        I am sure that at least one of you has seen the popular TV shows, such as CSI or Law &

 Order. The TV standards, and the capabilities of law enforcement as portrayed on TV and in the

 movies, do not apply here to this trial. Witness testimony may be sufficient to establish the

 charges in this case. Specific investigative techniques, such as DNA and fingerprints, are not

 required to be presented in order for you to find the defendant guilty of the charges in this case.

 Please dismiss from your deliberations in consideration of the appropriate verdict in this case,

 any investigative techniques which you may have seen on TV or in the movies, as well as

 anything else about which there was no evidence.

        Your concern, as I have said, is to determine whether or not, on the evidence or lack of

 evidence, a defendant’s guilt has been proved beyond reasonable doubt.




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                                    3179
                           Instruction No. 18: False Exculpatory Statements


         Statements knowingly and voluntarily made by a defendant upon being informed that a

 crime had been committed or upon being accused of a criminal charge may be considered by the

 jury.

         When a defendant voluntarily offers an explanation or voluntarily makes some statement

 tending to show his innocence and it is later shown that the defendant knew that this statement or

 explanation was false, the jury may consider this as showing a consciousness of guilt on the part

 of a defendant since it is reasonable to infer that an innocent person does not usually find it

 necessary to invent or fabricate an explanation or statement tending to establish his innocence.

         Whether or not evidence as to a defendant’s explanation or statement points to a

 consciousness of guilt on his part and the significance, if any, to be attached to any such

 evidence, are matters exclusively within the province of the jury since you are the sole judges of

 the facts of this case.

         In your evaluation of evidence of an exculpatory statement shown to be false, you may

 consider that there may be reasons – fully consistent with innocence – that could cause a person

 to give a false statement showing that he did not commit a crime. Fear of law enforcement,

 reluctance to become involved, and simple mistake may cause a person who has committed no

 crime to give such a statement or explanation.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 14.06 (6th ed. 2015).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 26 of 138 Pageid#:
                                    3180
               Instruction No. 19: Coercion of Witness or Fabrication of Evidence


          Evidence that a defendant coerced a witness, fabricated evidence, caused others to coerce

 a witness or fabricate evidence, or attempted to do so, is a circumstance that, if proven, may be

 considered by the jury as showing a consciousness of guilt on the part of that defendant.

          Whether or not evidence of coercion or fabrication of evidence causes you to find a

 consciousness of guilt on the part of the defendant responsible for that coercion or fabrication—

 and the significance, if any, of that consciousness of guilt—is entirely up to you as the sole

 judges of the facts of this case.

          Any testimony concerning the coercion of a witness or the fabrication of evidence by a

 defendant—to the extent you find that it shows a consciousness of guilt—is in no way

 attributable to any other defendant on trial and may not be considered by you in determining

 whether the government has proven the charges against any other defendant beyond a reasonable

 doubt.




 AUTHORITY: Adapted from 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal
 Jury Practice and Instructions, § 14.07 (6th ed. 2015).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 27 of 138 Pageid#:
                                    3181
                       Instruction No. 20: Immediate Flight of concealment


         Evidence that a defendant immediately fled after having been accused of committing a

 crime is a circumstance that, if proven, can be considered by the jury as showing a consciousness

 of guilt on the part of that defendant .

         In your evaluation of this evidence of flight you may consider that there may be

 reasons—fully consistent with innocence—that could cause a person to flee. Fear of law

 enforcement or a reluctance to become involved in an investigation or simple mistake may cause

 a person who has committed no crime to immediately flee.

         Whether or not evidence of immediate flight on the part of a defendant causes you as

 members of the jury to find a consciousness of guilt on hir or her part and the significance, if

 any, of that consciousness of guilt is entirely up to you as the sole judges of the facts of this case.

         Any testimony concerning immediate flight by a defendant is in no way attributable to

 any other defendants on trial and may not be considered by you in determining the guilt or

 innocence of those other defendants.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 14.08 (6th ed. 2015).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 28 of 138 Pageid#:
                                    3182
                        Instruction No. 21: Video and Audio Recordings


        Video and audio recordings have been received in evidence and have been played for

 you. Subtitles were added to these recordings solely for your convenience in assisting you in

 following the conversation or in identifying the speakers.

        The video and audio recordings themselves, however, are evidence in the case and the

 subtitles are not evidence. What you hear on the recording is evidence. What you read on the

 subtitles is not. If you perceive any variation between the two, you will be guided solely by the

 recordings and not by the subtitles.

        If you cannot, for example, determine from the recording that particular words were

 spoken or if you cannot determine from the recording who said a particular word or words, you

 must disregard the subtitles insofar as those words or that speaker are concerned.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 14.09 (6th ed. 2015).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 29 of 138 Pageid#:
                                    3183
              Instruction No. 22: Number of Witnesses Called Is Not Controlling


        Your decision on the facts of this case should not be determined by the number of

 witnesses testifying for or against a party. You should consider all the facts and circumstances

 in evidence to determine which of the witnesses you choose to believe or not believe. You may

 find that the testimony of a smaller number of witnesses on one side is more credible than the

 testimony of a greater number of witnesses on the other side.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 14.16 (6th ed. 2015).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 30 of 138 Pageid#:
                                    3184
                     Instruction No. 23: Credibility of Witnesses – Generally


         You, as jurors, are the sole and exclusive judges of the credibility of each of the witnesses

 called to testify in this case and only you determine the importance or the weight, if any, that

 their testimony deserves. After making your assessment concerning the credibility of a witness,

 you may decide to believe all of that witness’ testimony, only a portion of it, or none of it.

         In making your assessment of that witness you should carefully scrutinize all of the

 testimony given by that witness, the circumstances under which each witness has testified, and

 all of the other evidence which tends to show whether a witness, in your opinion, is worthy of

 belief. Consider each witness’ intelligence, motive to falsify, state of mind, and appearance and

 manner while on the witness stand. Consider the witness’ ability to observe the matters as to

 which he or she has testified and consider whether he or she impresses you as having an accurate

 memory or recollection of these matters. Consider also any relation a witness may bear to either

 side of the case, the manner in which each witness might be affected by your verdict, and the

 extent to which, if at all, each witness is either supported or contradicted by other evidence in the

 case.

         Inconsistencies or discrepancies in the testimony of a witness or between the testimony of

 different witnesses may or may not cause you to disbelieve or discredit such testimony. Two or

 more persons witnessing an incident or a transaction may simply see or hear it differently.

 Innocent misrecollection, like failure of recollection, is not an uncommon human experience. In

 weighing the effect of a discrepancy, however, always consider whether it pertains to a matter of

 importance or an insignificant detail and consider whether the discrepancy results from innocent

 error or from intentional falsehood.



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                                    3185
        After making your own judgment or assessment concerning the believability of a witness,

 you can then attach such importance or weight to that testimony, if any, that you feel it deserves.

 You will then be in a position to decide whether the government has proven the charges beyond

 a reasonable doubt.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 15.01 (6th ed. 2015).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 32 of 138 Pageid#:
                                    3186
                        Instruction No. 24: Law Enforcement Witnesses


        You have heard the testimony of law enforcement officers. The fact that a witness may

 be employed as a law enforcement officer does not mean that his or her testimony is necessarily

 deserving of more or less consideration or greater or lesser weight than that of an ordinary

 witness.

        It is your decision, after reviewing all of the evidence, whether to accept the testimony of

 the law enforcement witness and to give to that testimony whatever weight, if any, you find it

 deserves.




 AUTHORITY: 1 L. Sand et al., Modern Federal Jury Instructions—Criminal, Chapter 7,
 Instruction No. 7-16 (modified) (2001). A Kevin F. O’Malley, Jay E. Grenig & William C.
 Lee, Federal Jury Practice and Instructions, § 15.01 (6th ed. 2015).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 33 of 138 Pageid#:
                                    3187
             Instruction No. 25: Credibility of Witnesses – Inconsistent Statement


        The testimony of a witness may be discredited or, as we sometimes say, impeached by

 showing that he or she previously made statements which are different than or inconsistent with

 his or her testimony here in court. The earlier inconsistent or contradictory statements are

 admissible only to discredit or impeach the credibility of the witness and not to establish the truth

 of these earlier statements made somewhere other than here during this trial. It is the province

 of the jury to determine the credibility of a witness who has made prior inconsistent or

 contradictory statements.

        If a person is shown to have knowingly testified falsely concerning any important or

 material matter, you obviously have a right to distrust the testimony of such an individual

 concerning other matters. You may reject all of the testimony of that witness or give it such

 weight or credibility as you may think it deserves.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 15.06 (6th ed. 2015).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 34 of 138 Pageid#:
                                    3188
              Instruction No. 26: Credibility of Witnesses – Conviction of Felony


        The testimony of a witness may be discredited or impeached by evidence showing that

 the witness has been convicted of a felony, a crime for which a person may receive a prison

 sentence of more than one year.

        Prior conviction of a crime that is a felony is one of the circumstances which you may

 consider in determining the credibility of that witness.

        It is the sole and exclusive right of the jury to determine the weight to be given to any

 prior conviction as impeachment and the weight to be given to the testimony of anyone who has

 previously been convicted of a felony.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 15.07 (6th ed. 2015).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 35 of 138 Pageid#:
                                    3189
          Instruction No. 27: Credibility of Witnesses – The Defendant as a Witness


        You should judge the testimony of a defendant in the same manner as you judge the

 testimony of any other witness in this case.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 15.12 (6th ed. 2015).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 36 of 138 Pageid#:
                                    3190
                 Instruction No. 28: Effect of the Defendant’s Decision Not to Testify


            The defendant in a criminal case has an absolute right under our constitution not to

 testify.

            The fact that a defendant did not testify must not be discussed or considered in any way

 when deliberating and in arriving at your verdict. No inference of any kind may be drawn from

 the fact that a defendant decided to exercise his privilege under the constitution and did not

 testify.

            As stated before, the law never imposes upon a defendant in a criminal case the burden or

 duty of calling any witnesses or of producing any evidence.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 15.14 (6th ed. 2015).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 37 of 138 Pageid#:
                                    3191
  Instruction No. 29: Testimony – Accomplices, Informers, Immunity and Plea Agreements


        In this case, the government called as witnesses alleged accomplices, with whom the

 government has entered into plea agreements providing for the dismissal of some charges. Such

 plea bargaining, as it is called, is common and has been approved as lawful and proper, and is

 expressly provided for in the rules of this court.

        An alleged accomplice, including one who has entered into a plea agreement with the

 government, does not thereby become incompetent as a witness. On the contrary, the testimony

 of such a witness may alone be of sufficient weight to sustain a verdict of guilty. However, the

 jury should keep in mind that such testimony is always received with caution and weighed with

 great care. You should never convict a defendant upon the unsupported testimony of an alleged

 accomplice unless you believe that testimony beyond a reasonable doubt; and the fact that an

 accomplice has entered a plea of guilty to the offense charged is not evidence, in and of itself, of

 the guilt of any other person.




 AUTHORITY: United States v. Figurski, 545 F.2d 389 (4th Cir. 1976); United States v. Stulga,
 584 F.2d 1421 (6th Cir. 1978). See also, Model Manual of Criminal Instructions for the Ninth
 Circuit, § 4.9 (2010).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 38 of 138 Pageid#:
                                    3192
                       Instruction No. 30: Proof of Knowledge or Intent


        In a moment, I will instruct you as to the substantive counts charged in the First

 Superseding Indictment. For these charges, the government must prove the defenants’ intent or

 knowledge. The intent of a person or the knowledge that a person possesses at any given time

 may not ordinarily be proved directly because there is no way of directly scrutinizing the

 workings of the human mind. In determining the issue of what a person knew or what a person

 intended at a particular time, you may consider any statements made or acts done or omitted by

 that person and all other facts and circumstances received in evidence which may aid in your

 determination of that person’s knowledge or intent.

        You may infer, but you are certainly not required to infer, that a person intends the

 natural and probable consequences of acts knowingly done or knowingly omitted. It is entirely

 up to you, however, to decide what facts to find from the evidence received during this trial.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 17.07 (6th ed. 2015).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 39 of 138 Pageid#:
                                    3193
                             Instruction No. 31: Motive – Explained


        Intent and motive are different concepts and should never be confused.

        Motive is what prompts a person to act or fail to act. Intent refers only to the state of

 mind with which the act is done or omitted.

        Personal advancement and financial gain, for example, are two well-recognized motives

 for much of human conduct. These praiseworthy motives, however, may prompt one person to

 voluntary acts of good while prompting another person to voluntary acts of crime.

        Good motive alone is never a defense where the act done or omitted is a crime. The

 motive of a defendant is, therefore, immaterial except insofar as evidence of motive may aid in

 the determination of state of mind or the intent of a defendant.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 17.06 (6th ed. 2015).




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                                    3194
                   Instruction No. 32: “Knowingly” and “Willfully” – Defined


        The term “knowingly,” as used in these instructions to describe the alleged state of mind

 of a defendant, means that he was conscious and aware of his actions, realized what he was

 doing or what was happening around him, and did not act because of ignorance, mistake or

 accident.

        The term “willfully,” as used in these instructions to describe the alleged state of mind of

 a defendant, means that he or she knowingly performed an act or failed to act deliberately and

 intentionally as contrasted with accidentally, carelessly, or unintentionally.




 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, §§ 17.04, 17.05 (6th ed. 2015).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 41 of 138 Pageid#:
                                    3195
                      Instruction No. 33: Deliberate Ignorance – Explained


        The government may prove that a defendant acted “knowingly” by proving, beyond a

 reasonable doubt, that a defendant deliberately closed his eyes to what would otherwise have

 been obvious to him. No one can avoid responsibility for a crime by deliberately ignoring what

 is obvious. A finding beyond a reasonable doubt of an intent of a defendant to avoid knowledge

 or enlightenment would permit the jury to find knowledge. Stated another way, a person’s

 knowledge of a particular fact may be shown from a deliberate or intentional ignorance or

 deliberate or intentional blindness to the existence of that fact.

        It is, of course, entirely up to you as to whether you find any deliberate ignorance or

 deliberate closing of the eyes and any inferences to be drawn from any such evidence.

 You may not conclude that a defendant had knowledge, however, from proof of a mistake,

 negligence, carelessness, or a belief in an inaccurate proposition.



 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 17.09 (6th ed. 2015).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 42 of 138 Pageid#:
                                    3196
                  Instruction No. 34: Responsibility for Substantive Offenses


        Before I instruct you on the substantive charges in this case and what the government

 must prove for each charge, I want to explain to you the legal concept of criminal responsibility.

        There are three ways that the government can prove a particular defendant guilty of the

 substantive crimes charged in the First Superseding Indictment. The first is by proving that a

 particular defendant personally committed or participated in the individual crime.

        A defendant may also violate the law even though he or she does not personally do each

 and every act constituting the offense if that person “aided and abetted” the commission of the

 offense. Before a defendant may be held responsible for aiding and abetting others in the

 commission of a crime, it is necessary that the government prove beyond a reasonable doubt that

 the defendant knowingly and deliberately associated himself in some way with the crimes

 charged and participated with the intent to commit the crimes.

        In order to be found guilty of aiding and abetting the commission of a particular crime,

 the government must prove beyond a reasonable doubt that the defendant:

        One           Knew that the crime charged was to be committed or was being

                      committed;

        Two           Knowingly did some act for the purpose of aiding and encouraging the

                      commission of that crime; and

        Three         Acted with the intention of causing the crime charged to be committed.

        Before the defendant may be found guilty as an aider or an abettor to the crime, the

 government must also prove, beyond a reasonable doubt, that someone committed each of the

 essential elements of the offenses charged as I have previously explained to you.



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                                    3197
        Merely being present at the scene of the crime or merely knowing that a crime is being

 committed or is about to be committed is not sufficient conduct for the jury to find that a

 defendant aided and abetted the commission of that crime.

        The government must prove that a defendant knowingly and deliberately associated

 himself with the crime in some way as a participant—someone who wanted the crime to be

 committed—not as a mere spectator.

        The third way the government can prove a particular defendant guilty of the substantive

 crimes is based on the legal rule that all members of a conspiracy are responsible for the acts

 committed by the other members, as long as those acts are committed to help advance the

 conspiracy, and are within the reasonable foreseeable scope of the agreement.

        In other words, under certain circumstances, the act of one conspirator may be treated as

 the act of all. This means that all the conspirators may be convicted of a crime committed by

 only one of them, even though they did not all personally participate in that crime themselves.

 In other words, a member of a conspiracy who commits a crime during the existence or life of

 the conspiracy and commits the crime in order to further or somehow advance the goals or

 objectives of the conspiracy may be considered by you to be acting as the agent of the other

 members of the conspiracy. The illegal actions of this conspirator in committing the substantive

 crime may be attributed to other individuals who are, at the time, members of the conspiracy, so

 long as the commission of that substantive crime was reasonably foreseeable to those other

 individuals. Under certain conditions, therefore, a defendant may be found guilty of a

 substantive crime even though he did not participate directly in the acts constituting that offense.




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 44 of 138 Pageid#:
                                    3198
 AUTHORITY: 1A O’Malley, Grenig and Lee, Federal Jury Practice and Instructions, §§ 18.01,
 31.10 (6th ed. 2015)(modified).




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                                    3199
                   Instruction No. 35: Unindicted or Absent Co-Conspirators


        Some of the people who may have been involved in these events are not on trial. This

 does not matter. There is no requirement that all members of a conspiracy be charged and

 prosecuted, or tried together in one proceeding.

        Nor is there any requirement that the names of the other co-conspirators be known. An

 indictment can charge a defendant with a conspiracy involving people whose names are not

 known, as long as the government can prove that the defendant conspired with one or more of

 them. Whether they are named or not does not matter.




 AUTHORITY: Pattern Crim. Jury Instr. 6th Cir. § 3.06 (2017 ed.).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 46 of 138 Pageid#:
                                    3200
                     Instruction No. 36: Success of Conspiracy Immaterial


        The government is not required to prove that the parties to or members of the alleged

 agreement or conspiracy were successful in achieving any or all of the objects of the agreement

 or conspiracy.




 AUTHORITY: 2 Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice and
 Instructions, § 31.08 (6th ed. 2015).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 47 of 138 Pageid#:
                                    3201
                             Instruction No. 37: Agent of a Defendant


    As I have explained, it is not necessary for the government to prove that a defendant

 personally did every act constituting the offense charged.

    As a general rule, whatever any person is legally capable of doing himself, he can do through

 another, acting as his agent.

    So, if the acts or conduct of another is deliberately ordered or directed by a defendant or

 deliberately authorized or consented to by a defendant, then the law holds that defendant

 responsible for such acts or conduct just the same as if personally done by him.



 AUTHORITY: 1A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 18.03 (6th ed. 2015).




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 48 of 138 Pageid#:
                                    3202
                            Part II - Racketeering Conspiracy (Count 1)
               Instruction No. 38: The Nature of the Offense Charged — Count 1


        Now I will instruct you as to the substantive charges contained in the First Superseding

 Indictment.

        Count I – RICO Conspiracy

        From in or about sometime in 2015, the exact date being unknown, and continuing

 through the date of the First Superseding Indictment, in the Western District of Virginia and

 elsewhere, the defendants, MARCUS JAY DAVIS, KEVIN LAMONT TRENT JR., KANAS

 LAMONT’E TRENT, DESHAUN LAMAR TRENT, PHILLIP DAEKWON MILES, SHABBA

 LARUN CHANDLER, and ASHLEY TIANA ROSS, together with each other and other persons

 known and unknown, being persons employed by and associated with the Rollin 60s Crips, an

 enterprise which was engaged in, and the activities of which affected, interstate and foreign

 commerce, knowingly and intentionally did combine, conspire, confederate, and agree with each

 other, and with other persons known and unknown to the Grand Jury, to violate Title 18, United

 States Code, Section 1962(c), that is, to conduct and participate, directly and indirectly, in the

 conduct of the affairs of the enterprise through a pattern of racketeering activity, as that term is

 defined by Title 18, United States Code, Section 1961(1) and 1961(5), which consisted of

 multiple acts involving:

        A.      Murder, chargeable under Va. Code §§ 18.2-32, 18.2-22, 18.2-26, and 18.2-18,

                and the common law of Virginia;

 multiple acts indictable under:

        B.      Title 18, United States Code, Section 1512 (tampering with a witness, victim or

                informant);


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                                    3203
        C.     Title 18, United States Code, Section 1503 (obstruction of justice);

 multiple offenses involving:

        D.     Trafficking in controlled substances in violation of Title 21, United States Code,

               Sections 841 and 846.

        All in violation of Title 18, U.S.C. Sections 1962(d) and 1963.




 AUTHORITY: First Superseding Indictment.




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                                    3204
          Instruction No. 39: The Statute Defining the Offense Charged — Count 1


        Section 1962(d) of Title 18 of the United States Code, commonly known as RICO

 conspiracy, provides that:

        It shall be unlawful for any person to conspire to violate any of the provisions of
        subsection (a), (b), or (c) of this section.

        Section 1962(c) of Title 18 of the United States Code provides, in part, that:

        It shall be unlawful for any person employed by or associated with any
        enterprise engaged in, or the activities of which affect, interstate or foreign
        commerce, to conduct or participate, directly or indirectly, in the conduct of
        such enterprise’s affairs through a pattern of racketeering activity.




 AUTHORITY: Title 18, United States Code, Section 1962(c), (d).




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                                    3205
        Instruction No. 40: The Essential Elements of the Offense Charged — Count 1


        In order to sustain its burden of proof for the crime of RICO conspiracy as charged in

 Count One of the First Superseding Indictment, the government must prove the following four

 elements beyond a reasonable doubt:

        One:         The existence of an enterprise engaged in or affecting interstate commerce;

        Two:         The defendant was “employed by” or “associated with” the enterprise;

        Three:       The defendant knowingly and intentionally agreed with another person to

                     conduct or participate in the affairs of the enterprise; and

        Four:        The defendant knowingly agreed that he/she or some other member of the

                     conspiracy would commit at least two racketeering acts.




 AUTHORITY: United States v. Mathis, No. 16-4633, 2019 WL 3437626, at *9 (4th Cir. July 31,
 2019); United States v. Zelaya, 908 F.3d 920, 926 (4th Cir. 2018); United States v. Mouzone, 687
 F.3d 207 (4th Cir. 2012).




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                       Instruction No. 41: Conspiracy—Defined—Count 1
        I will define each of these elements for you. But first, let me instruct you on the

 definition of a “conspiracy.”

        A criminal conspiracy is an agreement or mutual understanding knowingly made or

 knowingly entered into by at least two people to violate the law by some joint or common plan or

 course of action. A conspiracy is, in a very true sense, a partnership in crime.

        A conspiracy or agreement to violate the law, like any other kind of agreement or

 understanding, need not be formal, written, or even expressed directly in every detail.

        The government must prove that the defendant and at least one other person knowingly

 and deliberately arrived at some type of agreement or understanding that they, and perhaps

 others, would violate some laws by means of some common plan or course of action. It is proof

 of this conscious understanding and deliberate agreement by the alleged members that should be

 central to your consideration of the charged conspiracy.

        To prove the existence of a conspiracy or illegal agreement, the government is not

 required to produce a written contract between the parties or even produce evidence of an

 express oral agreement spelling ut all of the details of the understanding. To prove that a

 conspiracy existed, moreover, the government is not required to show that all of the people

 named in the First Superseding Indictment as members of the conspiracy were, in fact, parties to

 the agreement, or that all of the members of the alleged conspiracy were named and charged, or

 that all of the people whom the evidence shows were actually members of the conspiracy agreed

 to all of the means or methods set out in the First Superseding Indictment. Neither must it be

 proved that all of the persons charged to have been members of the conspiracy were such, nor

 that the alleged conspirators actually succeeded in accomplishing their unlawful objectives.

 Neither is it necessary for the government to prove any of the overt acts listed in the First

 Superseding Indictment. One may become a member of a conspiracy without full knowledge of



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 all of the details of the unlawful scheme or the names and identities of all of the other alleged

 conspirators.

        So, if a defendant, with an understanding of the unlawful character of a plan, knowingly

 and willfully joins in an unlawful scheme on one occasion, that is sufficient to convict him for

 conspiracy even though he had not participated at earlier stages in the scheme and even though

 he played only a minor part in the conspiracy.

        Of course, mere presence at the scene of an alleged transaction or event, or mere

 similarity of conduct among various persons and the fact that they may have associated with

 each other, and may have assembled together and discussed common aims and interests, does not

 necessarily establish proof of the existence of a conspiracy. Also, a person who has no

 knowledge of a conspiracy, but who happens to act in a way which advances some object or

 purpose of a conspiracy, does not thereby become a conspirator.

        In your consideration of the conspiracy offense as alleged in the First Superseding

 Indictment you should first determine, from all of the testimony and evidence in the case,

 whether or not the conspiracy existed as charged. If you conclude that a conspiracy did exist as

 alleged, you should next determine whether or not the defendant willfully became a member of

 such conspiracy.

        If and when it does appear beyond a reasonable doubt from the evidence in the case that a

 conspiracy did exist as charged, and that the defendant was a member, then the statements and

 acts knowingly made and done during such conspiracy and in furtherance of its objects, by

 another proven member of the conspiracy, may be considered by the jury as evidence against the

 defendant under consideration even though he was not present to hear the statement made or see

 the act done.

        This is true because, as stated earlier, a conspiracy is a kind of “partnership” so that under

 the law each member is an agent or partner of every other member and each member is bound by


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 or responsible for the acts and the statements of every other member made in pursuance of their

 unlawful scheme.



 AUTHORITY: 2B O’Malley, Grenig and Lee, Federal Jury Practice and Instructions, § 56.11
 (6th ed. 2019) (modified); Modern Federal Jury Instructions, Supplement Pamphlet, Fifth Circuit
 Pattern Jury Instructions, Criminal Cases, Instruction No. 2.21 (1991) (modified); United States
 v. Burgos, 94 F.3d 849, 860-61 (4th Cir. 1996).




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                                    3209
                       Instruction No. 42: Enterprise—Defined—Count 1
        I will now instruct you on the law applicable to each of the four elements for a RICO

 conspiracy.

        The first element requires the government to prove beyond a reasonable doubt that an

 enterprise affecting interstate commerce existed as alleged in the First Superseding Indictment.

 The First Superseding Indictment alleges that Rollin 60s Crips is an enterprise.

        The term “enterprise” as used in these instructions may include a group of individuals

 associated in fact, even though this association is not recognized as a legal entity. Thus, an

 enterprise need not be a formal business entity such as a corporation, but may be merely an

 informal association of individuals. A group or association of people can be an enterprise if

 these individuals have associated together for a common purpose of engaging in a course of

 conduct.

        The government must prove the existence of an association-in-fact enterprise by evidence

 of an ongoing organization, formal or informal, and by evidence that the various associates

 functioned as a continuing unit. The enterprise must have the three following structural features:

 (1) a purpose; (2) relationships among those associated with the enterprise; and (3) longevity

 sufficient to permit these associates to pursue the enterprise’s purpose.

        An enterprise need not have a hierarchical structure or a chain of command; decisions

 may be made on an ad hoc basis and by any number of methods, including a show of strength.

 Members of the group need not have fixed roles; different members may perform different roles

 at different times. The group need not have a name, regular meetings, dues, established rules

 and regulations, disciplinary procedures, or induction or initiation ceremonies.

        While the group must function as a continuing unit and remain in existence long enough

 to pursue a course of conduct, you may nonetheless find that the enterprise element is satisfied

 by finding a group whose associates engage in spurts of activity punctuated by periods of

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 inactivity. Moreover, an enterprise is not required to be business-like in its form or function,

 and it may, but need not, have an economic or profit-seeking motive. Indeed, RICO is not

 limited to groups whose crimes are sophisticated, diverse, complex, or unique.

        An enterprise can exist even though its membership changes over time by adding or

 losing individuals during the course of its existence.

        Although the existence of an enterprise is a distinct element that must be proved by the

 government, it is not necessary to find that the enterprise had some function wholly unrelated to

 the racketeering activity. Therefore you may consider proof of racketeering acts to determine

 whether the evidence establishes the existence of the charged enterprise, and, further, you may

 infer the existence of the enterprise from evidence of the pattern of racketeering activity.




 AUTHORITY: 2B O’Malley, Grenig and Lee, Federal Jury Practice and Instructions, § 56.04
 (6th ed. 2019) (modified). Boyle v. United States, 556 U.S. 938, 948 (2009); Nat’l Org. For
 Women, Inc. v. Scheidler, 510 U.S. 249, 259 (1994); United States v. Turkette, 452 U.S. 576, 583
 (1981); United States v. Palacios, 677 F.3d 234, 248-49 (4th Cir. 2012).




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      Instruction No. 43: “Engaged in or Affecting Interstate Commerce” — Defined —
                                          Count 1


        The government must also prove beyond a reasonable doubt that the enterprise was

 engaged in, or its activities affected, interstate commerce.

        The phrase engaged in, or the activities of which affect, interstate commerce, as used in

 these instructions, means to be involved in or to affect in some way trade, or business, or travel

 between the states. Therefore, interstate commerce may include the movement of money, goods,

 services, or persons from one state to another or the District of Columbia.

        An enterprise is generally engaged in commerce when it is itself directly engaged in the

 production, distribution, or acquisition of goods or services in interstate commerce. If you find

 that the evidence is sufficient to prove that the enterprise was or would be “engaged in,”

 interstate commerce, the required nexus to interstate commerce is established, and therefore the

 government is not required to prove the alternative that the activities of the enterprise affected or

 would affect interstate commerce.

        Regarding that alternative method of satisfying this element, to establish the requisite

 effect on interstate commerce, the government is not required to prove a significant or substantial

 effect on interstate commerce. Rather, a minimal effect on interstate commerce is sufficient. It is

 not necessary for the government to show that the defendants actually intended or anticipated an

 effect on interstate commerce. It is not necessary for the government to prove that individual acts

 of racketeering themselves affected interstate commerce; rather, all that is necessary is that the

 enterprise and its activities affected interstate commerce, no matter how minimally. The effect

 must be considered in its entirety, but this effect on interstate commerce may be established

 through the effect caused by the individual racketeering acts.


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        The government contends that the enterprise in this case was or would be engaged in, or

 its activities affected or would affect, interstate commerce, in the following ways, among others:

        •   The distribution of drugs, including marijuana;

        •   The possession of firearms and ammunition, which traveled in interstate commerce;

        •   The use of interstate communications facilities, including the internet, social media

            such as Facebook, phone calls and text messages, and the U.S. Postal Service.

        The government is not required to prove all the circumstances outlined above. To satisfy

 this element, the government need only prove beyond a reasonable doubt that the activities of the

 enterprise considered in their entirety had or would have some minimal effect on interstate

 commerce, or that the enterprise was or would be “engaged in” interstate commerce.




 AUTHORITY: 2B O’Malley, Grenig and Lee, Federal Jury Practice and Instructions, § 56.05
 (6th ed. 2019) (modified); Pattern Jury Instruction of the District Judges Association of the
 Eleventh Circuit, Offense Instruction No. 71.1 (2003); United States v. Robertson, 514 U.S. 669,
 671-672 (1995); United States v. Umana, 750 F.3d 320, 337 (4th Cir. 2014); United States v.
 Long, 651 F.2d 239, 241-42 (4th Cir. 1981).




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       Instruction No. 44: “Employed by or Associated with the Enterprise” -- Defined


        The second element the government must prove beyond a reasonable doubt is that the

 defendant was employed by or associated with the enterprise. The government need not prove

 both; the defendant can either be “employed by” or “associated with” the enterprise to establish

 this element.

          The term “employed by” is not restricted to the traditional definition of employment or

 being paid wages. Under this statute, “employed by” also means use or engage or to make use

 of. A person “employed by” an enterprise is someone who has a position in or is a member of

 the enterprise.

        “Associated with” also should be given its plain meaning. To “associate” means to join,

 often in a loose relationship as a partner, fellow worker, colleague, friend, companion or ally . . .

 To join or connect with one another. Therefore, a person is “associated with” an enterprise

 when, for example, he joins with other members of the enterprise and he knowingly aids or

 furthers the activities of the enterprise, or he conducts business with or through the enterprise.

        It is not required that each defendant agree that any particular conspirator was or would

 be “employed by” or “associated with” the enterprise for the entire time the enterprise existed.

 The government also is not required to prove that a defendant agree that any particular

 conspirator had a formal position in the enterprise, or participated in all the activities of the

 enterprise, or had full knowledge of all the activities of the enterprise, or knew about the

 participation of all the other members of the enterprise. Rather, it is sufficient that the

 government prove beyond a reasonable doubt that at some time during the existence of the

 enterprise, a conspirator was or would be “employed by” or “associated with” the enterprise

 within the meaning of those terms as I have just explained and that he or she knew or would

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 know of the general nature of the enterprise, and knew or would know that the enterprise

 extended beyond his own role in the enterprise.




 AUTHORITY: United States v. Brandao, 539 F.3d 44, 51-52 (1st Cir. 2008); United States v.
 Delgado, 401 F.3d 290, 297 (5th Cir. 2005); United States v. Marino, 277 F.3d 11, 33 (1st Cir.
 2002); United States v. Zichetello, 208 F.3d 72, 99 (2d Cir. 2000); United States v. Tocco, 200
 F.3d 401, 425 (6th Cir. 2000); United States v. Gabriele, 63 F.3d 61, 98 (1st Cir, 1995); United
 States v. Console, 13 F.3d 641, 653 (3d Cir. 1993); United States v. Mokol, 957 F.2d 1410, 1417
 (7th Cir. 1992); United States v. Eufrasio, 935 F.2d 553, 577 n.29 (3d Cir. 1991); United States
 v. Rastelli, 870 F.2d 827, 828 (2d Cir. 1989) (collecting cases); United States v. Yonan, 800 F.2d
 164, 167 (7th Cir. 1986); United States v. Tille, 729 F.2d 615, 620 (9th Cir. 1984); United States
 v. Bright, 630 F.2d 804, 830 (5th Cir. 1980); United States v. Herman, 589 F.2d 1191, 1194,
 1198 (3d Cir. 1978), cert. denied, 441 U.S. 913 (1979); United States v. McMonagle, 437 F.
 Supp. 721, 723 (E.D. PA. 1977).




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                                    3215
       Instruction No. 45: “Conduct or Participate in the Conduct of the Affairs of the
                                        Enterprise”


           The third element the government must prove beyond a reasonable doubt is that each

 defendant must have agreed that a conspirator would conduct or participate in the conduct of the

 affairs of the enterprise. A person conducts or participates in the conduct of the affairs of an

 enterprise if that person uses his position in, or association with, the enterprise to perform acts

 which are involved in some way in the operation or management of the enterprise, directly or

 indirectly, or if the person causes another to do so.

           Such proof of operation and management may include evidence that the defendant agreed

 that a conspirator would intentionally perform acts, functions or duties which are necessary to, or

 helpful in, the operation of the enterprise, or that a conspirator had some part in directing the

 enterprise’s affairs. However, the government need not prove that the conspirator would exercise

 significant control over or within the enterprise, or that he had a formal position in the enterprise,

 or that he had primary responsibility for the enterprise’s affairs. Rather, an enterprise is

 operated not just by upper management but also by lower-rung participants in the enterprise who

 are under the direction of upper management or who are just carrying out upper management’s

 orders.




 AUTHORITY: Adapted from 2B O’Malley, Grenig, and Lee, Federal Jury Practice and
 Instructions § 56.08 (6th ed. 2013); Reves v. Ernest & Young, 507 U.S. 170, 179-86 (1993);
 United States v. Godwin, 765 F.3d 1306, 1320 (11th Cir. 2014); United States v. Praddy, 725
 F.3d 147, 155-56 (2d Cir. 2013); United States v. Shamah, 624 F.3d 449, 454-56 (7th Cir. 2010);
 In re Insurance Brokerage Antitrust Litigation, 618 F.3d 300, 371 (3d Cir. 2010); United States
 v. Burden, 600 F.3d 204, 214 (2d Cir. 2010); United States v. Hutchinson, 573 F.3d 1011, 1034
 (10th Cir. 2009); United States v. Brandao, 539 F.3d 44, 54 (1st Cir. 2008);United States v.
 Lawson, 535 F.3d 434, 443 (6th Cir. 2008); United States v. Fowler, 535 F.3d408, 418 (6th Cir.
 2008); United States v. Browne, 505 F.3d 1229, 1277 (11th Cir. 2007);Williams v. Mohawk

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 Indus., 465 F.3d 1277, 1285 (11th Cir. 2006); Tal v. Hogan, 453 F.3d 1244 (10th Cir. 2006)
 (contra holding); United States v. Delgado, 401 F.3d 290, 297-98 (5th Cir.2005); United States v.
 Fernandez, 388 F.3d 1199, 1230 (9th Cir. 2004); First Capital Asset Mgmt. v. Satinwood, Inc.,
 385 F.3d 159, 176-78 (2d Cir. 2004); United States v. Cianci, 378 F.3d 71, 96 (1st Cir. 2004);
 Baisch v. Gallina, 346 F.3d 366, 376 (2d Cir. 2003); United States v. Shryock, 342 F.3d 948,
 985-86 (9th Cir. 2003); United States v. Warneke, 310 F.3d 542, 548 (7th Cir. 2002); United
 States v. Swan, 250 F.3d 495, 499 (7th Cir. 2000), amended by 224 F.3d 632 (2001); Slaney v.
 Int’l Amateur Athletic Fed’n, 244 F.3d 580, 598 (7th Cir. 2001); BancOklahoma Mortg. Corp. v.
 Capital Tile Co., 194 F.3d 1089, 1101-02 (10th Cir. 1999); United States v. Diaz, 176 F.3d 52,
 92-93 (2d Cir. 1999); United States v. Owens, 167 F.3d 739, 753-54 (1st Cir. 1999); United
 States v. Hurley, 63 F.3d 1, 11 (1st Cir. 1995); United States v. Thai, 29 F.3d 785, 816 (2d Cir.
 1994); United States v. Wong, 40 F.3d 1347, 1373 (2d Cir. 1994); United States v. Viola, 35 F.3d
 37, 40-41 (2d Cir. 1994); United States v. Oreto, 37 F.3d 739, 750 (1st Cir. 1994); United States
 v. Weiner, 3 F.3d 17, 23-24 (1st Cir. 1993).




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                           Instruction No. 46: “Racketeering Activity”


        The fourth element that the government must prove beyond a reasonable doubt that the

 defendant agreed that the defendant or a conspirator would engage in a pattern of racketeering

 activity. The term “pattern of racketeering activity” means at least two racketeering acts of the

 type or types alleged in the First Superseding Indictment. Your verdict must be unanimous as to

 which type or types of racketeering activity you find that the defendant agreed was committed.

 In a moment, I will instruct you on the type of racketeering acts charged in the First Superseding

 Indictment and the elements regarding each of those charged types of racketeering activity.

        Racketeering acts must be related to each other and pose a threat of continued criminal

 activity. A series of disconnected acts does not constitute a pattern, and a series of disconnected

 crimes does not constitute a pattern of racketeering activity, nor do they amount to or pose a

 threat of continued racketeering activity.

        Acts of racketeering are related to each other if they have the same or similar purposes,

 results, participants, victims, or methods of commission, or are otherwise interrelated by

 distinguishing characteristics and are merely isolated events.

        Finally, the racketeering acts must have extended over a substantial period of time or

 pose a threat of continued criminal activity.




 AUTHORITY: Title 18, United States Code, Section 1961(5); Sedima, S.P.R. v. Imres Co., 473
 U.S. 479, 496 n. 14, 105 S. Ct. 3275, 3285 n. 14, 87 LE2d 346 (1985).



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        For purposes of this count, the First Superseding Indictment alleges that the defendants

 committed the following types of racketeering activity:

        (1)     Acts involving murder, chargeable under Virginia Code Sections 18.2-32,

 18.2-26, 18.2-22, and 18.2-18 and the common law of Virginia. For these instructions, acts

 involving murder include the completed act of murder as well as conspiracy to commit

 murder and attempted murder.

        Under Virginia law, murder in the first degree is murder by poison, by lying in wait,

 imprisonment, starving, or any willful, deliberate, premeditated and malicious killing of a human

 being, or any murder done in the commission of, or attempt to commit, robbery or abduction.

        Only the first type of murder is applicable to this case. To find a person committed this

 type of first-degree murder under Virginia law, the government must prove beyond a reasonable

 doubt each of the following elements:

                ONE:           The defendant killed another person;

                TWO:           The killing was malicious; and

                THREE:         The killing was willful, deliberate, and premeditated.

        “Willful” generally means an act done with a bad purpose, without justifiable excuse, or

 without ground for believing it is lawful. The term denotes an act which is intentional,

 knowing, or voluntary, as distinguished from accidental.

        The malice necessary to constitute a crime of murder may either be express or implied.

 The word “malice” in the foregoing definitions of murder is used in a technical sense, and

 includes not only anger, hatred, and revenge, but every unlawful and unjustifiable motive. It is

 not confined to ill will to any one or more particular persons, but is intended to denote an action

 flowing from a wicked or corrupt motive, done with an evil mind and purpose and wrongful


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 intention, where the act has been attended with such circumstances as to carry in them the plain

 indication of a heart regardless of social duty and deliberately bent on mischief. Therefore,

 malice is implied by law from any willful, deliberate, and cruel act against another, however

 sudden.

        Under Virginia law, attempted murder is when an individual intends to commit murder

 and takes a direct act towards the commission of that crime, but is not successful.   In

 determining whether the intent has been proved you may consider the conduct of the person

 involved and all the circumstances revealed by the evidence. The direct act required to be

 proved in an attempted crime is an act which shows a present intention to commit the crime.

 The act need not be the last act prior to the actual commission of the crime, but it must be more

 than mere preparation. It is not a defense to attempted murder that a perpetrator voluntarily

 withdrew before actually committing the murder or that some other person or thing prevented the

 murder from being committed.

        In addition, Virginia law defines conspiracy as one person conspiring, confederating, or

 combining with another to commit a felony. If you find that the government has established

 beyond a reasonable doubt that the defendant was a member of a conspiracy, he is responsible

 for the acts of other members of that conspiracy that are committed in furtherance of the

 conspiracy, even if those acts are committed without his direct knowledge.

        A principal in the first degree is the person who actually commits the crime. A principal

 in the second degree is the person who is present, aiding and abetting, by helping in some way

 the commission of the crime. Presence and consent are not sufficient to constitute aiding and

 abetting. It must be shown that the defendant intended his words, gestures, signals, or actions to




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 in some way encourage, advise, or urge, or in some way help the person committing the crime to

 commit it.




 AUTHORITY: 3-52 Modern Federal Jury Instructions-Criminal § 52.07, Instruction 52-40; Va.
 Prac. Jury Instruction § 73:1, Elements; Va. Prac. Jury Instruction § 73:3, Liability of
 conspirators; Va. Prac. Jury Instruction § 80:8, First Degree Murder; Va. Prac. Jury Instruction
 § 80:18, Willful; Va. Prac. Jury Instruction § 80:14, Malice; Va. Prac. Jury Instruction § 80:32,
 Second Degree Murder; Va. Prac. Jury Instruction § 80:36, Second Degree Murder—Malice
 Necessary; Va. Prac. Jury Instruction § 60:5, Principles in the First and Second Degree; Va. Prac.
 Jury Instruction 67:1.




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        The First Superseding Indictment also alleges that the defendants agreed to commit the

 following types of racketeering activity as part of the RICO conspiracy:

        (2)     Acts indictable as witness tampering in violation of Title 18, United States

 Code, Section 1512. In order to sustain its burden of proof for the crime of witness tampering,

 the government must prove the following elements beyond a reasonable doubt:

        One            The defendant used intimidation, threats, or corrupt persuasion, or

                       attempted to use intimidation, threats, or corrupt persuasion, or engaged in

                       misleading conduct toward, another person;

        Two            The defendant did so with intent to influence, delay, or prevent the

                       testimony of any person in an official proceeding; and

        Three          The defendant did so knowingly, that is, that the defendant knew or had

                       notice of the official proceeding, and that he intended or knew that his

                       actions were likely to affect the official proceeding.

        The official proceeding need not be pending or about to be instituted at the time of the

 offense.

        In this case, certain defendants are also charged separately with the substantive crime of

 witness tampering. When I discuss those counts, I will provide you with further instructions

 regarding witness tampering that are applicable to the racketeering act of witness tampering.

 Those instructions are also applicable here.

        AUTHORITY: Eric Wm. Ruschky, Pattern Jury Instructions for Federal Criminal
 Cases, District of South Carolina 18 U.S.C. § 1512(b)(1) (2018 Online Edition); 18 U.S.C. §
 1512(f).




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        The First Superseding Indictment also alleges that the defendants agreed to commit the

 following types of racketeering activity as part of the RICO conspiracy:

        (3)     Acts indictable as obstruction of justice in violation of Title 18, United States

 Code, Section 1503. In order to sustain its burden of proof for the crime of obstruction of

 justice, the government must prove the following elements beyond a reasonable doubt:

        One             There was a pending official proceeding;

        Two             The defendant had knowledge or notice of the pending proceeding;

        Three           The defendant, influenced, obstructed, or impeded, or endeavored to

                        influence, obstruct, or impede, the due administration of justice; and

        Four            That the defendant did so corruptly, that is with the intent to influence,

                        obstruct, or impede that proceeding in its due administration of justice, or

                        by threats or force, or by threatening letter or communication.



        An official proceeding means a proceeding before a judge or court of the United

 States, a United States magistrate judge, or a Federal grand jury.

        In this case, certain defendants are also charged separately with the substantive crime of

 obstruction of justice. When I discuss those counts, I will provide you with further instructions

 regarding obstruction of justice that are applicable to the racketeering act of obstruction of

 justice. Those instructions are also applicable here.




 AUTHORITY: Arthur Anderson LLP v. United States, 544 U.S. 696, 706 (2005); see United
 States v. Chujoy and Edlind, Case No. 5:15-cr-29.




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        Finally, The First Superseding Indictment also alleges that the defendants agreed to

 commit the following types of racketeering activity as part of the RICO conspiracy:

        (4)     Multiple offenses involving the trafficking of controlled substances, in

 violation of Title 21, United States Code, Section 846 (which is conspiracy to distribute and

 possess with intent to distribute controlled substances) and Section 841 (which is the

 distribution and possession with intent to distribute controlled substances).

        In order to sustain its burden of proof that the defendant conspired to distribute and

 possess with intent to distribute controlled substances, the government must prove the following

 elements beyond a reasonable doubt:

        One            There existed an agreement between two or more persons to knowingly

                       and intentionally distribute controlled substances, and the defendant

                       willfully joined that agreement; or

        Two            There existed an agreement between two or more persons to knowingly

                       and intentionally possess with intent to distribute controlled substances,

                       and the defendant willfully joined that agreement.


        I have already instructed your regarding the law of conspiracy. Those same instructions

 apply here as well.



 AUTHORITY: 1A O’Malley, Grenig and Lee (formerly Devitt, Blackmar, Wolff and O’Malley),
 Federal Jury Practice and Instructions, § 13.03 (5th ed. 2000); Modern Federal Jury Instructions,
 Supplement Pamphlet, Fifth Circuit Pattern Jury Instructions, Criminal Cases, Instruction No.
 2.21 (1991) (modified).




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        In order to sustain its burden of proof that the defendant distributed or possessed with

 intent to distribute a controlled substance, the government must prove the following essential

 elements beyond a reasonable doubt:

        One           The defendant knowingly or intentionally distributed a controlled

                      substance; and

        Two           The substance was in fact a controlled substance.


 AUTHORITY: § 14.02 Pattern Crim. Jury Instr. (6th Cir. 2017 ed.)


        The term “to distribute” means to deliver or to transfer possession or control of

 something from one person to another. “To distribute” includes, but is not limited to, the sale of

 controlled substances by one person to another.



        The term “to possess” means to exercise control or authority over something at a given

 time. There are several types of possession—actual, constructive, sole, and joint. Possession is

 considered to be actual when a person knowingly has direct physical control or authority over

 something. Possession is called constructive when a person does not have direct physical

 control over something, but can knowingly control it and intends to control it, sometimes through

 another person. Possession may be knowingly exercised by one person exclusively which is

 called sole possession or possession may be knowingly exercised jointly when it is shared by two

 or more persons.




 AUTHORITY: 2B O’Malley, Grenig and Lee, Federal Jury Practice and Instructions, § 64.08
 (5th ed. 2009).


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        The phrase “with intent to distribute” means to have in mind or to plan in some way to

 deliver or to transfer possession or control over a thing to someone else.

        In attempting to determine the intent of any person you may take into your consideration

 all the facts and circumstances shown by the evidence received in the case concerning that

 person. In determining a person’s “intent to distribute” controlled substances, the jury may

 consider, among other things, the purity of the controlled substance, the quantity of the

 controlled substance, the presence of equipment used in the processing or sale of controlled

 substances, and large amounts of cash or weapons.




 AUTHORITY: 2B O’Malley, Grenig and Lee, Federal Jury Practice and Instructions, § 64.09
 (5th ed. 2009).


        The government is required to prove that the substance possessed or otherwise involved

 in this case was in fact a “controlled substance.” In determining whether the government has

 satisfied its burden of proof on this element, you may consider lay testimony and any relevant

 circumstantial evidence. Such circumstantial proof may include evidence of the physical

 appearance of the substance involved in the transaction, evidence that the substance produced the

 expected effects when sampled by someone familiar with the illicit drug, evidence that the

 substance was used in the same manner as the illicit drug, testimony that a high price was paid

 in cash for the substance, evidence that transactions involving the substance were carried on with

 secrecy or deviousness, and evidence that the subject was called by the name of the illegal

 narcotic by the defendant or others in his presence.



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         I further instruct that neither expert chemical analysis nor expert testimony is necessary

 for you to conclude that the substance possessed or otherwise involved in this case was, in fact, a

 “controlled substance.”




 AUTHORITY: United States v. Dolan, 544 F.2d 1219, 1221 (4th Cir. 1976); see also United
 States v. Scott, 725 F.2d 43 (4th Cir. 1984).


         It is not necessary for the government to prove that the defendant knew the precise nature

 of the controlled substance or substances that were distributed or possessed with the intent to

 distribute. The government must prove beyond a reasonable doubt, however, that defendant did

 know that some type of controlled substance was distributed or possessed with the intent to

 distribute.




 AUTHORITY: 2B O’Malley, Grenig and Lee, Federal Jury Practice and Instructions, § 64.15
 (5th ed. 2009).




         You are instructed, as a matter of law, that marijuana is a controlled substance.




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                              Instruction No. 47: RICO Conspiracy

        To be clear, in order to convict a defendant of the RICO conspiracy offense charged in

 Count One, your verdict must be unanimous as to which type or types of racketeering activity

 were intended as part of the conspiracy that the defendant joined. For example, you must find

 that at least two acts of murder or attempted murder (under Virginia law), witness tampering

 (under federal law), obstruction of justice (under federal law), conspiracy to distribute controlled

 substances (under federal law), or distribution of a controlled substance (under federal law), or

 one of each, or any combination thereof, were intended as part of the conspiracy.

        The two acts may be of the same type of offense, but need not be so. The two acts may

 be of a different type, but need not be so. Again, the government is not required to prove that

 any defendant personally committed any racketeering acts, or that any defendant agreed to

 personally commit two racketeering acts. Rather, it is sufficient if the government proves

 beyond a reasonable doubt that the defendant agreed to participate in the charged racketeering

 conspiracy with the knowledge and intent that at least one member of the conspiracy would

 commit at least two acts of racketeering, whether or not those acts were actually committed.




 AUTHORITY: 2B O’Malley, Grenig, and Lee, Federal Jury Practice and Instructions § 56.11
 (6th ed. 2013); Third Circuit Manual of Model Jury Instructions 6.18.1962D (West 2014 ed);
 Seventh Circuit Pattern Jury Instructions (1999 ed.); Eleventh Circuit Pattern Jury Instructions
 § 71.2 (2003 ed.); Salinas v. United States, 522 U.S. 52, 62-65 (1997); United States v. Pratt,
 728 F.3d 463, 477 (5th Cir. 2013); United States v. Cain, 671 F.3d 271, 291 (2d Cir. 2012);
 United States v. Mouzone, 687 F.3d 207, 218 (4th Cir. 2012); United States v. Tello, 687 F.3d
 785, 792 (7th Cir. 2012); United States v. Applins, 637 F.3d 59, 75 (2d Cir. 2011); United States
 v. Yannotti, 541 F.3d 112, 122 (2d Cir. 2008); United States v. Lawson, 535 F.3d 434, 445 (6th
 Cir. 2008); United States v. Useni, 516 F.3d 634, 646 (7th Cir. 2008); United States v. Quinones,
 511 F.3d 289, 316 (2d Cir. 2007); United States v. Browne, 505 F.3d 1229, 1265 (11th Cir.
 2007); United States v. Smith, 413 F.3d 1253, 1272-73 (10th Cir. 2005); United States v. Saadey,
                                                  74

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 393 F.3d 669, 676 (6th Cir. 2005); United States v. Pipkins, 378 F.3d 1281, 1288 (11th Cir.
 2004); United States v. Lee, 374 F.3d 637, 646-47 (8th Cir. 2004); United States v. Harriston,
 329 F.3d 779, 785 (11th Cir. 2003); United States v. Ciccone, 312 F.3d 535, 542 (2d Cir. 2002);
 United States v. Abbell, 271 F.3d 1286, 1299 (11th Cir. 2001); United States v. Nguyen, 255 F.3d
 1335, 1341 (11th Cir. 2001); United States v. Zichettello, 208 F.3d 72, 100 (2d Cir. 2000);
 United States v. Posada-Rios, 158 F.3d 832, 857 (5th Cir. 1998); United States v. To, 144 F.3d
 737, 744 (11th Cir. 1998); United States v. Starrett, 55 F.3d 1525, 1543-44 (11th Cir. 1995);
 United States v. Quintanilla, 2 F.3d 1469, 1484 (7th Cir. 1993); United States v. Eufrasio, 935
 F.2d 553, 577 (3d Cir. 1991); United States v. Rastelli, 870 F.2d 822, 825 (2d Cir. 1989); United
 States v. Neapolitan, 791 F.2d 489, 498 (7th Cir. 1986); United States v. Elliot, 571 F.2d 880,
 903-04 (5th Cir. 1978).




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                        Part III - Violent Crimes in Aid of Racketeering
     Instruction No. 48: The Nature of the Offense Charged—Counts 2, 6, 10, 12, and 16


        Next, I will instruction you on the charges called Violent Crimes in Aid of Racketeering,

 often called “VICAR.” The First Superseding Indictment charges specific defendants with two

 types of Violent Crimes in Aid of Racketeering: VICAR Murder and VICAR Attempted

 Murder. These two crimes have the same general elements, so I will instruct you as to VICAR

 Murder and VICAR Attempted Murder at the same time.



        Count Two – VICAR Attempted Murder of Armonti Womack

        Count Two of the First Superseding Indictment charges that on or about June 15, 2016,

 in the Western District of Virginia, for the purpose of maintaining and increasing position in the

 Rollin 60s Crips, an enterprise engaged in racketeering activity, the defendants, KEVIN

 LAMONT TRENT JR., KANAS LAMONT’E TRENT, DESHAUN LAMAR TRENT, and

 PHILLIP DAEKWON MILES, did attempt to murder Armonti Devine Womack, in violation of

 Virginia Code Sections 18.2-32, 18.2-26, and 18.2-18.

        All in violation of Title 18, United States Code, Sections 2 and 1959(a)(5).



        Count Six – VICAR Attempted Murder of Dwight Harris

        Count Six of the First Superseding Indictment charges that, on or about June 15, 2016, in

 the Western District of Virginia, for the purpose of maintaining and increasing position in the

 Rollin 60s Crips, an enterprise engaged in racketeering activity, the defendants, KEVIN

 LAMONT TRENT JR., KANAS LAMONT’E TRENT, DESHAUN LAMAR TRENT, and



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 PHILLIP DAEKWON MILES, did attempt to murder Dwight Montel Harris in violation of the

 Virginia Code Sections 18.2-32, 18.2-26, and 18.2-18.

        All in violation of Title 18, United States Code, Sections 2 and 1959(a)(5).



        Count Ten – VICAR Murder of Christopher Motley

        Count Ten of the First Superseding Indictment charges that on or about August 20, 2016,

 in the Western District of Virginia, for the purpose of maintaining and increasing position in the

 Rollin 60s Crips, an enterprise engaged in racketeering activity, the defendants, MARCUS JAY

 DAVIS, KEVIN LAMONT TRENT JR., KANAS LAMONT’E TRENT, DESHAUN LAMAR

 TRENT, PHILLIP DAEKWON MILES, and SHABBA LARUN CHANDLER, did murder

 Christopher Lamont Motely, in violation of Virginia Code Sections18.2-32 and 18.2-18.

        All in violation of Title 18, United States Code, Sections 2 and 1959(a)(1).



        Count Twelve – VICAR Attempted Murder of Justion Wilson

        Count Twelve of the First Superseding Indictment charges that, on or about August 20,

 2016, in the Western District of Virginia, for the purpose of maintaining and increasing position

 in the Rollin 60s Crips, an enterprise engaged in racketeering activity, the defendants, MARCUS

 JAY DAVIS, KEVIN LAMONT TRENT JR., KANAS LAMONT’E TRENT, DESHAUN

 LAMAR TRENT, PHILLIP DAEKWON MILES, and SHABBA LARUN CHANDLER, did

 attempt to murder Justion Wilson in violation of Virginia Code Sections 18.2-32, 18.2-26, and

 18.2-18.

        All in violation of Title 18, United States Code, Sections 2 and 1959(a)(5).




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        Count Sixteen – VICAR Attempted Murder of Tyliek Conway

        Count Sixteen of the First Superseding Indictment charges that, on or about August 24,

 2016, in the Western District of Virginia, for the purpose of maintaining and increasing position

 in the Rollin 60s Crips, an enterprise engaged in racketeering activity, the defendants, KEVIN

 LAMONT TRENT JR., DESHAUN LAMAR TRENT, and PHILLIP DAEKWON MILES, did

 attempt to murder Tyliek Conway in violation of Virginia Code Sections18.2-32, 18.2-26, and

 18.2-18.

        All in violation of Title 18, United States Code, Sections 2 and 1959(a)(5).




 ATHORITY: First Superseding Indictment.




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 Instruction No. 49: The Statute Defining the Offense Charged—Counts 2, 6, 10, 12, and 16


        Section 1959 of Title 18, United States Code, provides in pertinent part:

        Whoever, as consideration for the receipt of, or as consideration for a promise
        or agreement to pay, anything of pecuniary value from an enterprise engaged in
        racketeering activity, or for the purpose of gaining entrance to or maintaining
        or increasing position in an enterprise engaged in racketeering activity,
        murders . . . any individual in violation of the laws of any State or the United
        States, or attempts or conspires to do so . . .

        Shall be guilty of an offense against the United States.




 AUTHORITY: Title 18, United States Code, Sections 1959(a)(1) and (5).




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  Instruction No. 50: The Essential Elements of the Offense Charged—Counts 2, 6, 10, 12,
                                         and 16



        In order for you to find the defendants KEVIN LAMONT TRENT JR., KANAS

 LAMONT’E TRENT, DESHAUN LAMAR TRENT, and PHILLIP DAEKWON MILES,

 guilty of Count Two – the VICAR Attempted Murder of Armonti Womack -- the

 government must prove beyond a reasonable doubt each of the following elements:

        One          On or about June 15, 2016, the Rollin 60s Crips existed as an “enterprise”

                     which engaged in, or its activities affected, interstate commerce;

        Two          The enterprise engaged in racketeering activity;

        Three        The defendant had a position in or was associated with the enterprise;

        Four         The defendant committed, or aided and abetted, the attempted murder of

                     Armonti Devine Womack in violation of state law; and

        Five         The defendant’s purpose in committing the attempted murder, or aiding

                     and abetting the attempted murder, was to maintain or increase position in

                     the enterprise.

        I have already instructed you as to the elements of Virginia attempted murder.




        In order for you to find the defendants KEVIN LAMONT TRENT JR., KANAS

 LAMONT’E TRENT, DESHAUN LAMAR TRENT, and PHILLIP DAEKWON MILES,

 guilty of Count Six -- the VICAR Attempted Murder of Dwight Harris -- the government

 must prove beyond a reasonable doubt each of the following elements:



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         One          On or about June 15, 2016, the Rollin 60s Crips existed as an “enterprise”
                      which engaged in, or its activities affected, interstate commerce;
         Two          The enterprise engaged in racketeering activity;

         Three        The defendant had a position in or was associated with the enterprise;

         Four         The defendant committed, or aided and abetted, the the attempted murder
                      of Dwight Montel Harris in violation of state law; and
         Five         The defendant’s purpose in committing the attempted murder, or aiding and
                      abetting the attempted murder, was to maintain or increase position in the
                      enterprise.



        I have already instructed you as to the elements of Virginia attempted murder.




        In order for you to find the defendants MARCUS JAY DAVIS, KEVIN LAMONT

 TRENT JR., KANAS LAMONT’E TRENT, DESHAUN LAMAR TRENT, PHILLIP

 DAEKWON MILES, and SHABBA LARUN CHANDLER, guilty of Count Ten -- the VICAR

 Murder of Christopher Motley -- the government must prove beyond a reasonable doubt each

 of the following elements:

         One          On or about June 15, 2016, the Rollin 60s Crips existed as an “enterprise”
                      which engaged in, or its activities affected, interstate commerce;
         Two          The enterprise engaged in racketeering activity;
         Three        The defendant had a position in or was associated with the enterprise;
         Four         The defendant committed, or aided and abetted, the murder of Christopher
                      Lamont Motley, in violation of state law; and
         Five         The defendant’s purpose in committing the attempted murder, or aiding and
                      abetting the attempted murder, was to maintain or increase position in the
                      enterprise.
        I have already instructed you as to the elements of Virginia murder.
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        In order for you to find the defendants, MARCUS JAY DAVIS, KEVIN LAMONT

 TRENT JR., KANAS LAMONT’E TRENT, DESHAUN LAMAR TRENT, PHILLIP

 DAEKWON MILES, and SHABBA LARUN CHANDLER, guilty of Count Twelve – the

 VICAR Attempted Murder of Justion Wilson -- the government must prove beyond a

 reasonable doubt each of the following elements:

         One          On or about June 15, 2016, the Rollin 60s Crips existed as an “enterprise”
                      which engaged in, or its activities affected, interstate commerce;
         Two          The enterprise engaged in racketeering activity;
         Three        The defendant had a position in or was associated with the enterprise;
         Four         The defendant committed, or aided and abetted, the attempted murder of
                      Justion Wilson, in violation of state law; and
         Five         The defendant’s purpose in committing the attempted murder, or aiding and
                      abetting the attempted murder, was to maintain or increase position in the
                      enterprise.
        I have already instructed you as to the elements of Virginia attempted murder.




        In order for you to find the defendants, KEVIN LAMONT TRENT JR., DESHAUN

 LAMAR TRENT, and PHILLIP DAEKWON MILES, guilty of Count Sixteen – the VICAR

 Attempted Murder of Tyliek Conway -- the government must prove beyond a reasonable

 doubt each of the following elements:

         One          On or about June 15, 2016, the Rollin 60s Crips existed as an “enterprise”
                      which engaged in, or its activities affected, interstate commerce;
         Two          The enterprise engaged in racketeering activity;
         Three        The defendant had a position in or was associated with the enterprise;
         Four         The defendant committed, or aided and abetted, the attempted murder of
                      Tyliek Conway, in violation of state law; and
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        Five          The defendant’s purpose in committing the attempted murder, or aiding and
                      abetting the attempted murder, was to maintain or increase position in the
                      enterprise.
        I have already instructed you as to the elements of Virginia attempted murder.




 AUTHORITY: 18 U.S.C. § 1959(a)(1) and (5); United States v. Zelaya, 908 F.3d 920, 926-27
 (4th Cir. 2018); United States v. Fiel, 35 F.3d 997, 1003 (4th Cir. 1994).




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                                    3237
                Instruction No. 51: First Element—Existence of an Enterprise

        For both VICAR Murder and VICAR Attempted Murder, the first element the

 government must prove beyond a reasonable doubt is that an “enterprise” existed as defined in

 the First Superseding Indictment and that enterprise engaged in, or its activities affected,

 interstate commerce. The government has charged the same enterprise for these counts as in the

 racketeering conspiracy count, that is, the Rollin 60s Crips, including its leadership, members

 and associates. I have already instructed you on what is necessary for the government to prove

 that the Rollin 60s Crips is an enterprise. Those same instructions apply these Counts.




 AUTHORITY: 3 L. Sand, et al., Modern Federal Jury Instructions-Criminal, Instruction 52-37
 (2007).




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  Instruction No. 52: Second Element—The Enterprise Engaged in Racketeering Activity

        For both VICAR Murder and VICAR Attempted Murder, the next element the

 government must prove beyond a reasonable doubt is that the enterprise engaged in racketeering

 activity. As I have explained before, racketeering activity includes certain state and federal

 crimes. Specifically, the Rollin 60s Crips are alleged to have engaged in the following types of

 racketeering activity: (1) acts involving murder in violation of Virginia state law, (2) witness

 tampering indictable under federal law, (3) obstruction of justice indictable under federal law,

 and (4) conspiring to distribute controlled substances, distributing controlled substances, or

 possessing with intent to distribute controlled substances in violation of federal law.   I have

 already instructed you regarding the elements of these racketeering acts.

        For the Violent Crime in Aid of Racketeering charges contained in Counts 2, 6, 10, 12,

 and 16 of the First Superseding Indictment, the government is not required to prove that a

 defendant committed or agreed to commit a “pattern of racketeering activity.” For these

 Counts, the government must only prove beyond a reasonable doubt that the enterprise was

 engaged in at least one of the crimes I discussed as racketeering activity.

        It is for you to determine whether the enterprise “engaged in” these activities as charged.

 The element is satisfied by showing that members or associates of the enterprise committed

 racketeering activity on behalf of or in connection with the enterprise.




 AUTHORITY: 3 L. Sand, et al., Modern Federal Jury Instructions-Criminal, Instruction 52-38
 (2007).




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      Instruction No. 53: Third Element – Position in or Associated with the Enterprise

         For both VICAR Murder and VICAR Attempted Murder, the third element the

 government must prove beyond a reasonable doubt is that the defendant had a position in or was

 associated with the enterprise. The government need not prove both; the defendant can either be

 “position in” or “associated with” the enterprise to establish this element.

          The term “position in” is not restricted to the traditional employment definition. Under

 this statute, “position in” also means had a role in or was engaged by the enterprise. A person

 with a “position in” an enterprise is someone who was a member of or was employed by the

 enterprise.

         “Associated with” also should be given its plain meaning. To “associate” means to join,

 often in a loose relationship as a partner, fellow worker, colleague, friend, companion or ally . . .

 To join or connect with one another. Therefore, a person is “associated with” an enterprise

 when, for example, he joins with other members of the enterprise and he knowingly aids or

 furthers the activities of the enterprise, or he conducts business with or through the enterprise.

         It is not required that each defendant agree that any particular conspirator had a “position

 in” or “associated with” the enterprise for the entire time the enterprise existed. The government

 also is not required to prove that a defendant agree that any particular conspirator had a formal

 position in the enterprise, or participated in all the activities of the enterprise, or had full

 knowledge of all the activities of the enterprise, or knew about the participation of all the other

 members of the enterprise. Rather, it is sufficient that the government prove beyond a

 reasonable doubt that at some time during the existence of the enterprise, a conspirator was or

 had a “position in” or was “associated with” the enterprise within the meaning of those terms as I

 have just explained and that he or she knew or would know of the general nature of the


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 enterprise, and knew or would know that the enterprise extended beyond his own role in the

 enterprise.




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                                    3241
   Instruction No. 54: Fourth Element—The Defendant Committed the Charged Crime of
                                       Violence

        For both VICAR Murder and VICAR Attempted Murder, the next element the

 government must establish beyond a reasonable doubt is that the defendant committed the

 alleged violent crime charged in Counts Two, Six, Ten, Twelve, and Sixteen of the First

 Superseding Indictment. Here, the violent crimes are murder and attempted murder.

        When I instructed you on racketeering activity, I explained to you the definition and

 elements of murder and attempted murder. Those same instructions apply here to the counts for

 VICAR Murder and VICAR Attempted Murder.




 AUTHORITY: 3-52 Modern Federal Jury Instructions-Criminal § 52.07, Instruction 52-40; Va.
 Prac. Jury Instruction § 73:1, Elements; Va. Prac. Jury Instruction § 73:3, Liability of
 conspirators; Va. Prac. Jury Instruction § 80:8, First Degree Murder; Va. Prac. Jury Instruction
 § 80:18, Willful; Va. Prac. Jury Instruction § 80:14, Malice; Va. Prac. Jury Instruction § 80:32,
 Second Degree Murder; Va. Prac. Jury Instruction § 80:36, Second Degree Murder—Malice
 Necessary; Va. Prac. Jury Instruction § 60:5, Principles in the First and Second Degree; Va. Prac.
 Jury Instructions § 80:11, First degree murder—Specific statutory acts (modified); United States
 v. Ayalya, 601 F.3d 256, 265 (4th Cir. 2010); United States v. Cousins, 198 F.Supp.3d 621, 626
 (E.D. Va 2016); United States v. Cuong Gia Le, 316 F. Supp. 2d 355, 361 (E.D. Va 2004).




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     Instruction No. 55: Fifth Element—Purpose to Maintain or Increase Position in the
                     Enterprise or to Gain Entrance into the Enterprise

        For both VICAR Murder and VICAR Attempted Murder, the fifth element the United

 States must prove beyond a reasonable doubt is that the defendant’s general purpose in

 committing murder or attempted murder was to maintain or increase position in the enterprise.

 The United States is not required to prove that it was the defendant’s sole or principal motive or

 purpose.

        In determining whether the defendant’s purpose in committing the alleged acts was to

 maintain or increase position in the enterprise, you should give the words “maintain” or

 “increase” their ordinary meanings. You should consider all of the facts and circumstances in

 making that determination. For example, you may consider evidence that the crime, if proved,

 was intended to or served to maintain a position in the enterprise or maintain discipline within

 the enterprise. If the defendant conspired, committed, or attempted to commit the crime because

 he knew it was expected of him by reason of his membership in the enterprise, because he

 thought it would enhance his position or prestige within the enterprise, or because he thought it

 was necessary to maintain the position he already held, this element would be established.

 These examples are only meant by way of illustration. They are not exhaustive.


 AUTHORITY: 3-52-41 Modern Federal Jury Instructions– Criminal § 52.07.




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                       Part IV - Use of Firearms in Relation to Murder
              Instruction No. 56: The Nature of the Offense Charged—Count 11

        I will now instruct you on the substantive charges of Using a Firearm in Relation to a

 Crime of Violence. The crimes of violence in the First Superseding Indictment are VICAR

 Murder and VICAR Attempted Murder.


 Count Eleven – Use of a Firearm in Relation to Murder

        Count Eleven of the First Superseding Indictment charges that on or about August 20,

 2016, in in the Western District of Virginia, the defendants, MARCUS JAY DAVIS, KEVIN

 LAMONT TRENT JR., KANAS LAMONT’E TRENT, DESHAUN LAMAR TRENT,

 PHILLIP DAEKWON MILES, and SHABBA LARUN CHANDLER, did knowingly use, carry,

 brandish and discharge a firearm during and in relation to a crime of violence for which they

 may be prosecuted in a court of the United States, that is, aviolation of Title 18, United States

 Code, Section 1959(a)(1), as set forth Count Ten , and in the course of a violation of Title 18,

 United States Code, Section 924(c), caused the death of a person through the use of a firearm,

 which killing is murder as as defined in Title 18, United States Code, Section 1111(a).

        All in violation of Title 18, United States Code, Sections 924(j).




 AUTHORITY: First Superseding Indictment.




                                                  90

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                                    3244
         Instruction No. 57: The Statutes Defining the Offenses Charged—Count 11

        Section 924(c) of Title 18 of the United States Code provides, in part, that:

        . . . Any person who, during and in relation to a crime of violence . . . uses or
        carries a firearm, or who in furtherance of any such crime, possesses a firearm,
        shall . . .

        Be guilty of an offense against the United States.

        Section 924(j) of Title 18 of the United States Code provides, in part, that:

        Any person who, in the course of a violation of subsection (c), causes the death
        of a person through the use of a firearm shall . . .

        Be guilty of an offense against the United States.

        Section 1111(a) of Title 18 of the United States Code provides, in pertinent part, that:

        Murder is the unlawful killing of a human being with malice aforethought.




  AUTHORITY: Title 18, United States Code, Sections 924(c), 924(j), 1111(a).




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                                    3245
       Instruction No. 58: The Essential Elements of the Offense Charged—Count 11

        In order to sustain its burden of proof for the crime of using or carrying a firearm during

 and in relation to a crime of violence, as charged in Count Eleven of the First Superseding

 Indictment, the government must prove the following three elements beyond a reasonable doubt:

        One           The defendant committed the crime of murder as identified in Count Ten;

        Two           During and in relation to the commission of that crime, the defendant

                      knowingly used or carried a firearm; and

        Three         The defendant’s use or carrying of that firearm was during and in relation

                      to the murder of Christopher Motley as contained in Count Ten.



        I have previously instructed you on the elements of the underlying crimes of VICAR

 Murder.    It is not necessary for the government to show that the weapon was fired. I t is

 sufficient if the proof establishes that the firearm furthered the commission of the murder or was

 an integral part of the underlying crime being committed.




 AUTHORITY: 2A O'Malley, Grenig and Lee, Federal Jury Practice and Instructions, § 39.18
 (6th ed. 2019).




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                                    3246
                   Part V - Use of Firearms in Relation to Crimes of Violence
       Instruction No. 59: The Nature of the Offense Charged—Counts 3, 7, 13, and 17



        Count Three

        Count Three of the First Superseding Indictment charges that, on or about June 15, 2016,

 in the Western District of Virginia, the defendants, KEVIN LAMONT TRENT JR., KANAS

 LAMONT’E TRENT, DESHAUN LAMAR TRENT, and PHILLIP DAEKWON MILES, did

 knowingly use, carry, brandish, and discharge a firearm during and in relation to a crime of

 violence for which they may be prosecuted in a court of the United States, that is, a violation of

 Title 18, United States Code, Section 1959(a)(5), as set forth in Count Two of this First

 Superseding Indictment.

        All in violation of Title 18, United States Code, Sections 2 and 924(c)(1)(A)(iii).



        Count Seven

        Count Seven of the First Superseding Indictment charges that, on or about June 15, 2016,

 in the Western District of Virginia, the defendants, KEVIN LAMONT TRENT JR., KANAS

 LAMONT’E TRENT, DESHAUN LAMAR TRENT, and PHILLIP DAEKWON MILES, did

 knowingly use, carry, brandish, and discharge a firearm during and in relation to a crime of

 violence for which they may be prosecuted in a court of the United States, that is a violation of

 Title 18, United States Code, Section 1959(a)(5), as set forth in Count Six of this First

 Superseding Indictment.

        All in violation of Title 18, United States Code, Sections 2 and 924(c)(1)(A)(iii).




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                                    3247
        Count Thirteen

        Count Thirteen of the First Superseding Indictment charges that on or about August 20,

 2016, in the Western District of Virginia, the defendants, MARCUS JAY DAVIS, KEVIN

 LAMONT TRENT JR., KANAS LAMONT’E TRENT, DESHAUN LAMAR TRENT,

 PHILLIP DAEKWON MILES, SHABBA LARUN CHANDLER, did knowingly use, carry,

 brandish and discharge a firearm during and in relation to a crime of violence for which they

 may be prosecuted in a court of the United States, that is, a violation of Title 18, United States

 Code, Section 1959(a)(5), as set forth in Count Twelve of this First Superseding Indictment.

        All in violation of Title 18, United States Code, Sections 2 and 924(c)(1)(A)(iii).



        Count Seventeen

        Count Seventeen of the First Superseding Indictment charges that, on or August 24, 2016,

 in the Western District of Virginia, the defendants, KEVIN LAMONT TRENT JR., KANAS

 LAMONT’E TRENT, DESHAUN LAMAR TRENT, PHILLIP DAEKWON MILES did

 knowingly use, carry, brandish, and discharge a firearm during and in relation to a crime of

 violence for which they may be prosecuted in a court of the United States, that is a violation of

 Title 18, United States Code, section 1959(a)(5), as set forth in Count Sixteen of this First

 Superseding Indictment.

        All in violation of Title 18, United States Code, Sections 2 and 924(c)(1)(A)(iii).




 AUTHORITY: First Superseding Indictment.



                                                  94

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                                    3248
   Instruction No. 60: The Statute Defining the Offense Charged—Counts 3, 7, 13, and 17



       Section 924(c) of Title 18 of the United States Code provides, in pertinent part, that:

       . . . Any person who, during and in relation to any crime of violence . . . For
       which the person may be prosecuted in a court of the United States, uses or
       carries [or brandishes or discharges] a firearm, . . .

       shall

       be guilty of an offense against the United States.




 AUTHORITY: Title 18, United States Code, Section 924(c).




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                                    3249
  Instruction No. 61: The Essential Elements of the Offense Charged—Counts 3, 7, 13, and
                                            17

        In order to sustain its burden of proof for the crime of using, carrying, brandishing, or

 discharging a firearm during and in relation to a crime of violence, as charged in Counts Three,

 Seven, Thirteen, and Seventeen of the First Superseding Indictment, the government must prove

 the following two elements beyond a reasonable doubt:

        One          The defendant used or carried or brandished or discharged a firearm;

        Two          The defendant did so during and in relation to the commission of the

                     crimes of violence as alleged in Counts Two, Six, Twelve, and Sixteen,

                     which may be prosecuted in federal court.



        I hereby instruct you as a matter of law that the crime of VICAR Attempted Murder is a

 crime of violence for purposes of Counts Three, Seven, Thirteen, and Seventeen.

        I have previously instructed you on the essential elements of VICAR Attempted Murder.




 AUTHORITY: 2A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 39.18 (6th ed. 2019)(modified).




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                                    3250
                Instruction No. 62: Firearm defined— Counts 3, 7, 13, and 17

        The term “firearm” means any weapon (including a starter gun), which will or is

 designed to or may readily be converted to expel a projectile by the action of an explosive or the

 frame or receiver of any such weapon.

        You need not find that the firearm was loaded or that it was operable at the time of the

 offense.




 AUTHORITY: 2A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 39.11 (6th ed. 2019)(modified); 2 L. Sand, et al., Modern Federal Jury
 Instructions, 35-59 (2005); Title 18, United States Code, Section 921(a)(3); United States v.
 Martinez, 912 F.2d 419, 421 (10th Cir. 1990) (Use of unloaded firearm “falls within the
 prohibitions of § 924(c)”); United States v. Munoz-Fabela, 896 F.2d 908, 911 (5th Cir.), cert.
 denied, 498 U.S. 824 (1990) (Firearm need not be loaded); United States v. Theodoropoulos, 886
 F.2d 587, 595 n.3 (3d Cir. 1989) (Firearm need not be operable); United States v. York, 830 F.2d
 885, 891-92 (8th Cir. 1987), cert. denied, 484 U.S. 1074 (1988) (Firearm need not be operable);
 United States v. Gonzalez, 800 F.2d 894, 899 (9th Cir. 1986) (Firearm need not be loaded or
 operable).




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                                    3251
                  Instruction No. 63: “Uses or Carries a Firearm”—Defined

        To “use” a firearm means more than mere possession of a firearm or having it available

 during the crime of violence as alleged in the First Superseding Indictment. The government

 must prove that the defendant actively employed the firearm in the alleged crime of violence.

 “Active employment” may include brandishing, displaying, bartering, striking with, firing, or

 attempting to fire the firearm. It may also include the mere mention or disclosure of a firearm’s

 presence in a manner intended to intimidate or influence others.

        To “carry” a firearm means that the defendant carried the firearm in the ordinary meaning

 of the word “carry,” such as by transporting a firearm on the person or in a vehicle. The

 defendant’s carrying of the firearm cannot be merely coincidental or unrelated to the crime of

 violence. The firearm does not have to be readily accessible.

        In determining whether the defendant used or carried a firearm during and in relation to a

 crime of violence as charged in the First Superseding Indictment, you may consider all of the

 factors received in evidence in the case, including the nature of the underlying crime or crimes of

 violence alleged, the proximity of the defendant to the firearm in question, the usefulness of the

 firearm to the crime alleged, and the circumstances surrounding the presence of the firearm.




 AUTHORITY: 2A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
 and Instructions, § 39.20 (6th ed. 2015), available at Westlaw (modified); Pattern Crim. Jury
 Instr. 5th Cir. 2.44 (2015) (modified).




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                                    3252
                     Instruction No. 64: “Brandishes a Firearm”—Defined

        The term “brandish” means, with respect to a firearm, to display all or part of the firearm,

 or otherwise make the presence of the firearm known to another person, in order to intimidate

 that person, regardless of whether the firearm is directly visible to that person.




 AUTHORITY: Title 18, United States Code, Section 924(c)(1)(D)(4).




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                                    3253
                              Instruction No. 65: “Possess”—Defined

         The word “possess” means to own or to exert control over an item or property voluntarily

  and intentionally. The law recognizes two kinds of “possession” – actual possession and

  constructive possession. Actual possession is knowingly having direct physical control or

  authority over a thing at a given time. Constructive possession is when a person has the power

  or intention to exercise dominion or control over a thing, either directly or through another

  person or persons. Constructive possession requires that the person had knowledge of the

  presence of the item.

         The law recognizes also that “possession” may be sole or joint. If one person alone has

  actual or constructive possession of a thing, then possession is sole. If two or more persons

  share actual or constructive possession of a thing, then possession is joint.

         You may find that the element of “possession” as that term is used in these instructions is

  present if you find beyond a reasonable doubt that the defendant had actual or constructive

  possession, either alone or jointly with others.




  AUTHORITY: 2A Kevin F. O’Malley, Jay E. Grenig & William C. Lee, Federal Jury Practice
  and Instructions, § 39.12 (6th ed. 2015), available at Westlaw.




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                                    3254
         Instruction No. 66: “During and in Relation” to a Crime of Violence—Defined

         The government must prove beyond a reasonable doubt that the firearm had some

  relation to or some connection to the underlying crime of violence as alleged in Counts Three,

  Seven, Thirteen, and Seventeen.

         A firearm is used, carried, possessed, brandished or discharged “in relation to” a crime of

  violence if it has some purpose or effect with respect to the crime of violence and if its presence

  was not the result of an accident or coincidence. The firearm must have facilitated, or

  potentially facilitated the crime of violence. For example, if a firearm is possessed for

  protection or intimidation, it is possessed “in relation to” the crime of violence offense within the

  meaning of the statute.

         In determining whether the firearm assisted or facilitated the commission of the crime,

  you may consider all of the factors received in evidence in the case, including the nature of the

  underlying crime of violence alleged, the proximity of the defendant to the firearm in question,

  the usefulness of the firearm to the crime alleged, and the circumstances surrounding the

  presence of the firearm.




  AUTHORITY: United States v. Mitchell, 104 F.3d 649, 653 (4th Cir. 1997); United States v.
  Brockington, 849 F.2d 872 (4th Cir. 1988).




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                                    3255
    Instruction No. 67: Aiding and Abetting — Using or Carrying a Firearm During and in
                                Relation to a Crime of Violence

         In order to find the defendant guilty of aiding and abetting the offense of using or

  carrying a firearm during and in relation to a crime of violence, you must find that that the

  defendant (1) took an affirmative act in furtherance of that offense, (2) with the intent of

  facilitating the offense’s commission.

         A person takes an affirmative act in furtherance of an offense if he facilitates, that is, if he

  acts to help or assist or make possible, any part – though not necessarily every part – of the

  crime. An affirmative act includes all assistance rendered by words, acts, encouragement,

  support, or presence.

         As a result, in the context of aiding and abetting the offense of using or carrying a firearm

  during and in relation to a crime of violence, a person takes the necessary affirmative act if he

  facilitates the use or carriage of a firearm or the commission of the violent crime. It is not

  necessary that the person facilitate both the firearm use or carriage and the violent crime.

         A person acts with the required intent if he knowingly associates himself in some way

  with the crime and participates in the crime by doing some act to help make the crime succeed.

  This intent requirement is satisfied when a person actively participates in a criminal venture with

  full knowledge of the circumstances constituting the charged offense.

         In the context of aiding and abetting the offense of using or carrying a firearm during and

  in relation to a crime of violence, a person acts with the requisite intent if he had advance

  knowledge that a confederate would use or carry a gun during the commission of a violent crime.

  Advance knowledge means knowledge at a time the person can attempt to alter the plan or

  withdraw from the enterprise. Knowledge of the gun may, but does not have to, exist before the

  underlying crime is begun. It is sufficient if the knowledge is gained in the midst of the

                                                   102

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                                    3256
  underlying crime, as long as the defendant continues to participate in the crime and had a

  realistic opportunity to withdraw. You may, but need not, infer that the defendant had sufficient

  foreknowledge if you find that the defendant continued his participation in the crime after a gun

  was displayed or used by a confederate.




  AUTHORITY: Rosemond v. United States, 134 S. Ct. 1240 (2014).




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                                    3257
  Instruction No. 68: Aiding and abetting — Brandishing a Firearm During and in Relation
                                   to a Crime of Violence

         If you find that the defendant is guilty of aiding and abetting the offense of using or

  carrying a firearm during and in relation to a crime of violence, you must also determine if the

  defendant is guilty of aiding and abetting the brandishing of a firearm during and in relation to a

  crime of violence.

         The defendant is guilty of aiding and abetting the brandishing of a firearm if he had

  advance knowledge that a confederate would display or make the presence of a firearm known

  for purposes of intimidation. The defendant need not have had advance knowledge that a

  confederate would actually brandish the firearm. This requirement is satisfied if the defendant

  knew that a confederate intended to brandish a firearm to intimidate if the need arose.




   AUTHORITY: Rosemond v. United States, 134 S. Ct. 1240 (2014).




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                                    3258
  Instruction No. 69: Aiding and Abetting — Discharging a Firearm During and in Relation
                                  to a Crime of Violence

         If you find that the defendant is guilty of aiding and abetting the offense of using or

  carrying a firearm during and in relation to a crime of violence, you must then determine whether

  the firearm was discharged, even accidentally. To aid and abet the possession or carrying of a

  firearm that was discharged, the defendant need not have advance knowledge that the discharge

  would occur.




  AUTHORITY: Rosemond v. United States, 134 S. Ct. 1240 (2014).




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                                    3259
                      Part VI - Accessory After the Fact (Counts 20 and 21)
          Instruction No. 70: The Nature of the Offense Charged—Counts 20 and 21

         I will now explain and instruct you on the other substantive counts in the indictment.

  The first set of charges are for Accessory After the Fact.


         Count Twenty

         Count Twenty of the First Superseding Indictment charges that, on or about August 20-

  21, 2016, in the Western District of Virginia, the defendant, ASHLEY TIANA ROSS, knowing

  that an offense against the United States had been committed, to wit, murder andattempted

  murder in aid of racketeering, in violation of Title 18, United States Code, Section 1959(a), as

  charged in Counts Ten and Twelve, did receive, relieve, comfort, and assist one or more

  members of the Rollin 60s Crips gang, in order to hinder and prevent the offenders’

  apprehension, trial, and punishment by disposing of evidence related to the charged offense, to

  wit, disposing of shell casings and cleaning part of the crime scene in order to help avoid

  detection from law enforcement.


         All in violation of Title 18, United States Code, Section 3.


         Count Twenty-One
         Count Twenty-One of the First Superseding Indictment charges that, on or about August

  20-21, 2016, in the Western District of Virginia, the defendant, Shanicqua Latrice Coleman and

  TENIKQUA FULLER, knowing that an offense against the United States had been committed,

  to wit, murder and attempted murder in aid of racketeering, in violation of Title 18, United States

  Code, Section 1959(a), as charged in Counts Ten and Twelve, did receive, relieve, comfort, and

  assist one or more members of the Rollin 60s Crips gang, in order to hinder and prevent the

  members’ apprehension, trial, and punishment by helping to conceal gang members inside their
                                                  106

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                                    3260
  apartment, by hiding evidence of the charged offenses, and by assisting gang members in

  destroying, disposing and erasing of evidence of the charged offenses.

         In violation of Title 18, United States Code, Section 3.

  AUTHORITY: First Superseding Indictment.




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                                    3261
      Instruction No. 71: The Statute Defining the Offense Charged—Counts 20 and 21

         Section 3 of Title 18 of the United States Code provides, in pertinent part, that:



         Whoever, knowing that an offense against the United States has been committed,
  receives, relieves, comforts or assists the offender in order to hinder or prevent his
  apprehension, trial or punishment, is an accessory after the fact.




  AUTHORITY: Title 18, United States Code, Section 3.




                                                 108

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                                    3262
    Instruction No. 72: The Essential Elements of the Offense Charged—Counts 20 and 21

         In order to sustain its burden of proof for the crime of accessory after the fact as charged

  in Counts Twenty and Twenty-One of the First Superseding Indictment, the government must

  prove the following elements beyond a reasonable doubt:

         One          A crime against the United States had been committed. I have already

                      instructed you on the crimes of murder and attempted murder in aid of

                      racketeering;

         Two          The defendant knew that the crime had been committed;

         Three        The defendant intentionally received, relieved, comforted, or assisted the

                      person who committed the crime; and

         Four         The defendant did so in order to hinder or prevent the apprehension, trial,

                      or punishment of the person who committed the crime.




  AUTHORITY: Eric Wm. Ruschky, Pattern Jury Instructions for Federal Criminal Cases,
  District of South Carolina 18 U.S.C. § 3 (2018 Online Edition).




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                                    3263
              Instruction No. 73: Necessity of Conviction of Substantive Crime


        For one to be convicted as an accessory after the fact, the substantive crime must be

  complete.




  AUTHORITY: United States v. McCoy, 721 F.2d 473 (4th Cir. 1983)




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                                    3264
            Part VII - Obstruction of Justice – Tamper with Proceedings (Count 22)
               Instruction No. 74: The Nature of the Offense Charged—Count 22


         The next substantive count is for tampering with grand jury proceedings.



         Count Twenty-Two of the First Superseding Indictment charges that on or about May 7,

  2018, in the Western District of Virginia, the defendant, Ashley Tiana Ross, did corruptly

  obstruct, influence, and impede, or attempt to do so, In re: Investigation into the violence in

  Danville, Virginia, an official proceeding, by providing false testimony to a federal grand jury.

         All in violation of Title 18, United States Code, Section 1512(c)(2).




  AUTHORITY: First Superseding Indictment.




                                                  111

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                                    3265
          Instruction No. 75: The Statute Defining the Offense Charged—Count 22

        Section 1512(c)(2) of Title 18 of the United States Code provides, in pertinent part, that:

        . . . Whoever corruptly, . . . otherwise obstructs, influences, or impedes any
        official proceeding or attempts to do so…

        Shall be guilty of an offense against the United States.




  AUTHORITY: Title 18, United States Code, Section 1512(c)(2)




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                                    3266
        Instruction No. 76: The Essential Elements of the Offense Charged—Count 22

         In order to sustain its burden of proof for the crime of obstruction of justice by tampering

  with an official proceeding, as charged in Count Twenty-Two of the First Superseding

  Indictment, the government must prove the following elements beyond a reasonable doubt:

         One           That there was a pending official proceeding;

         Two           The defendant had knowledge of the pending proceeding;

         Three         The defendant obstructed, influenced, or impeded, or attempted to

                       obstruct, influence, or impede the official proceeding; and

                       The defendant did so corruptly.



         An official proceeding means a proceeding before a judge or court of the United

  States, a United States magistrate judge, or a Federal grand jury.



         An official proceeding need not be pending or about to be instituted at the time of

  the defendant’s alleged conduct, and the testimony, or the record, document, or other

  object need not be admissible in evidence or free of a claim of privilege.




  AUTHORITY: Eric Wm. Ruschky, Pattern Jury Instructions for Federal Criminal Cases,
  District of South Carolina 18 U.S.C. § 1512(c)(2) (2018 Online Edition); 18 U.S.C. § 1512(f);
  18 U.S.C. § 1515(a).


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                                    3267
                           Instruction No. 77: Definition of “Corruptly”


         Merely persuading a person to withhold testimony in an official proceeding is not

  obstruction of justice. A defendant acts “corruptly” if the defendant acted knowingly and

  dishonestly, with the intent to subvert or undermine the integrity of the official proceeding.

  Only persons conscious of wrongdoing can be said to act “corruptly.”




  AUTHORITY: Arthur Anderson LLP v. United States, 544 U.S. 696, 706 (2005); see United

  States v. Chujoy and Edlind, Case No. 5:15-cr-29.




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                                    3268
    Part VIII - Obstruction of the Due Administration of Justice (Counts 23, 36, 38, and 39)
       Instruction No. 78: The Nature of the Offense Charged—Counts 23, 36, 38 and 39

  The next set of substantive charges are for the crime of Obstruction of Justice.


         Count Twenty-Three
         Count Twenty-Three of the First Superseding Indictment charges that on or about May 7,

  2018, in the Western District of Virginia, the defendant, ASHLEY TIANA ROSS, did corruptly

  obstruct and impede and endeavor to endeavor to influence, and impede, or attempt to do so, the

  due administration of justice in a pending criminal investigation by falsely testifying, while

  under oath, to a Federal Grand Jury

         All in violation of Title 18, United States Code, Section 1503.


         Count Thirty-Six
         Count Thirty-Six of the First Superseding Indictment charges that on or about November

  7, 2017, in the Western District of Virginia, the defendant, PHILLIP DAEKWON MILES, did

  corruptly, or by threats or force, influence, obstruct and impede or endeavor to influence,

  obstruct and impede, or attempt to do so, the due administration of justice in a pending criminal

  investigation, namely In re: Investigation in the violence in Danville, Virginia, by engaging in

  threatening conduct toward a witness, that is Tanasia Coleman.

         AlL In violation of Title 18, United States Code, Section 1503.


         Count Thirty-Eight
         Count Thirty-Eight of the First Superseding Indictment charges that on or around October

  or November 2017, the exact date being unknown to the Grand Jury, in the Western District of

  Virginia, ASHLEY TIANA ROSS, did corruptly, by threats or force, influence, obstruct and

  impede, or endeavor to influence, obstruct and impede, or attempt to do so, the due


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                                    3269
  administration of justice in a pending criminal investigation, namely In re: Investigation into the

  violence in Danville, Virginia, by instructing a witness, Tanasia Coleman, to provide a false story

  to law enforcement who were then involved in the above referenced investigation.

         All in violation of Title 18, United States Code, Section 1503.


         Count Thirty-Nine
         Count Thirty-Nine of the First Superseding Indictment charges that on or about April

  2018, in the Western District of Virginia, ASHLEY TIANA ROSS, did corruptly, or by threats

  or force, influence, obstruct and impede, or endeavor to influence, obstruct and impede, or

  attempt to do so, by destroying evidence in a pending criminal investigation, namely In re:

  Investigation into the violence in Danville, Virginia.

         All in violation of Title 18, United States Code, Section 1503.




  AUTHORITY: First Superseding Indictment.




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                                    3270
   Instruction No. 79: The Statute Defining the Offense Charged—Counts 23, 36, 38 and 39

        Section 1503 of Title 18 of the United States Code provides, in pertinent part, that:

        Whoever. . . corruptly or by threats or force, or by any threatening letter or
        communication, influences, obstructs, or impedes, or endeavors to influence,
        obstruct, or impede, the due administration of justice…

        Shall be guilty of an offense against the United States.




  AUTHORITY: Title 18, United States Code, Section 1503.




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                                    3271
  Instruction No. 80: The Essential Elements of the Offense Charged—Counts 23, 36, 38 and
                                             39

         As you will recall, one of the racketeering acts charged under Count I – Racketeering

  Conspiracy – is obstruction of justice. The elements and definitions for obstruction of justice

  that I am about to explain are also applicable to the racketeering act of obstruction of justice.



         In order to sustain its burden of proof for the crime of obstruction of the due

  administration of justice as charged in Count Twenty-Three, Thirty-Six, Thirty-Eight and Thirty-

  Nine of the First Superseding Indictment, the government must prove the following three

  elements beyond a reasonable doubt:

          One          That there was a pending official proceeding;

          Two          That the defendant had knowledge or notice of the pending proceeding;

          Three        That the defendant, influenced, obstructed, or impeded, or endeavored to

                       influence, obstruct, or impede, the due administration of justice; and

          Four         That the defendant did so corruptly, that is with the intent to influence,

                       obstruct, or impede that proceeding in its due administration of justice, or

                       by threats or force, or by threatening letter or communication.


         I have previously explained the terms “official proceeding” and “corruptly” to you.

         To act with intent to influence the testimony of a witness means to act for the purpose of

  getting the witness to change, color, or shade his or her testimony in some way, but it is not

  necessary for the government to prove that the witness’s testimony was, in fact, changed in any

  way.




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                                    3272
         The government is not required to prove that the person to be threatened or intimidated

  actually felt threatened, or intimidated, or influenced or that there was any actual delay or

  withholding of that person’s testimony.

         Merely persuading a person to withhold testimony in an official proceeding is not

  obstruction of justice. A defendant acts “corruptly” if the defendant acted knowingly and

  dishonestly, with the intent to subvert or undermine the integrity of the official proceeding.

  Only persons conscious of wrongdoing can be said to act “corruptly.”




  AUTHORITY: Eric Wm. Ruschky, Pattern Jury Instructions for Federal Criminal Cases,
  District of South Carolina 18 U.S.C. § 1503 (2018 Online Edition); United States v. Grubb,




                                                  119

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                                    3273
                            Witness Tampering (Counts 35, 37, and 40)

        Instruction No. 81: The Nature of the Offense Charged—Counts 35, 37, and 40)



         The next set of substantive counts in the First Superseding Indictment are for witness

  tampering. As you will recall, one of the racketeering acts charged under Count I –

  Racketeering Conspiracy – is witness tampering. The elements and definitions for witness

  tampering that I am about to explain are also applicable to the racketeering act of witness

  tampering.



         Count Thirty-Five
         Count Thirty-Five of the First Superseding Indictment charges that on or about

  November 7, 2017, in the Western District of Virginia, PHILLIP DAEWKON MILES, did

  knowingly intimidate, threaten, and corruptly persuade, or attempt to do so, and engage in

  misleading conduct toward a witness, that is Tanasia Coleman, with the intent to influence,

  delay, and prevent her testimony and participation as a witness in an official proceeding, namely,

  In re: Investigation into the violence in Danville, Virginia.

         All in violation of Title 18, United States Code, Section 1512(b)(1).


         Count Thirty-Seven
         Count Thirty-Seven of the First Superseding Indictment charges that on or around

  October or November 2017, the exact date being unknown to the Grand Jury, in the Western

  District of Virginia, ASHLEY TIANA ROSS, did knowingly intimidate, threaten, and corruptly

  persuade, or attempt to do so, and engage in misleading conduct toward a witness, that is Tanasia

  Coleman, with the intent to influence, delay, and prevent her testimony and participation as a



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                                    3274
  witness in an official proceeding, namely, In re: Investigation into the violence in Danville,

  Virginia.

         All in violation of Title 18, United States Code, Section 1512(b)(1).


         Count Forty
         Count Forty of the First Superseding Indictment charges that on or about April 24, 2018,

  in the Western District of Virginia, KEVIN LAMONT TRENT JR., did knowingly intimidate,

  threaten, and corruptly persuade, or attempt to do so, and engage in misleading conduct toward

  witnesses, with the intent to influence, delay, and prevent testimony of witnesses in an official

  proceeding, namely, In re: Investigation into the violence in Danville, Virginia.

         All in violation of Title 18, United States Code, Section 1512(b)(1).




  AUTHORITY: First Superseding Indictment.




                                                  121

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                                    3275
    Instruction No. 82: The Statute Defining the Offense Charged—Counts 35, 37 and 40

        Section 1512(b)(1) of Title 18 of the United States Code provides, in pertinent part, that:

        Whoever knowingly uses intimidation, threatens, or corruptly persuades another
        person, or attempts to do so, or engages in misleading conduct toward another
        person, with the intent to influence, delay, or prevent the testimony of any
        person in an official proceeding. . .

        Shall be guilty of an offense against the United States.




  AUTHORITY: Title 18, United States Code, Section 1512(b)(1).




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                                    3276
  Instruction No. 83: The Essential Elements of the Offense Charged—Counts 35, 37 and 40

         In order to sustain its burden of proof for the crime of witness tampering, as charged in

  Count Thirty-Five, Thirty-Seven and Forty of the First Superseding Indictment, the government

  must prove the following elements beyond a reasonable doubt:

          One          That the defendant used intimidation, threatened, or corruptly persuaded,

                       or attempted to use intimidation, threaten, or corruptly persuade, or

                       engaged in misleading conduct toward, another person;

          Two          That the defendant did so with intent to influence, delay, or prevent the

                       testimony of any person in an official proceeding; and

          Three        That the defendant did so knowingly, that is, that the defendant knew or

                       had notice of the official proceeding, and that he intended or knew that his

                       actions were likely to affect the official proceeding.



         I have previously defined the term “official proceeding.” That same definition applies to

  this instruction. The official proceeding need not be pending or about to be instituted at the time

  of the offense.




  AUTHORITY: Eric Wm. Ruschky, Pattern Jury Instructions for Federal Criminal Cases,
  District of South Carolina 18 U.S.C. § 1512(b)(1) (2018 Online Edition); 18 U.S.C. § 1512(f).




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                                    3277
                     Instruction No. 84: Definition of “Misleading Conduct”


         The term “misleading conduct” means (1) knowingly making a false statement; (2)

  intentionally omitting information from a statement and thereby causing a portion of such

  statement to be misleading, or intentionally concealing a material fact, and thereby creating a

  false impression by such statement; (3) with intent to mislead, knowingly submitting or inviting

  reliance on a writing or recording that is false, forged, altered, or otherwise lacking in

  authenticity; (4) with intent to mislead, knowingly submitting or inviting reliance on a sample,

  specimen, map, photograph, boundary mark, or other object that is misleading in a material

  respect; or (5) knowingly using a trick, scheme, or device with intent to mislead.




  AUTHORITY: 18 U.S.C. § 1515(a)(3).




                                                   124

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                                    3278
                      Instruction No. 85: Definition of “Corrupt Persuason”


         Merely persuading a person to withhold testimony in an official proceeding is not witness

  tampering. Persuasion is “corrupt” if the defendant acted knowingly and dishonestly, with the

  specific intent to subvert or undermine the due administration of justice. Only persons

  conscious of wrongdoing can be said to knowingly corruptly persuade.

         The term “corrupt persuasion” does not include conduct which would be misleading

  conduct but for a lack of state of mind.




  AUTHORITY: United States v. Chujoy and Edlind, Case No. 5:15-cr-29.




                                                125

Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 125 of 138 Pageid#:
                                    3279
                   Instruction No. 86: Definition of “With Intent to Influence”


         To act with intent to influence the testimony of a witness means to act for the purpose of

  getting the witness to change, color, or shade his or her testimony in some way, but it is not

  necessary for the government to prove that the witness’s testimony was, in fact, changed in any

  way.

         The government is not required to prove that the person to be threatened or intimidated

  actually felt threatened, or intimidated, or influenced or that there was any actual delay or

  withholding of that person's testimony.




  AUTHORITY: United States v. Chujoy and Edlind, Case No. 5:15-cr-29.




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Case 4:18-cr-00011-MFU-RSB Document 659 Filed 08/23/19 Page 126 of 138 Pageid#:
                                    3280
                         Instruction No. 87: Definition of “Intimidation”


         The term “intimidation” as used in these instructions means the use of any words or any

  actions that would harass, frighten, or threaten a reasonable, ordinary person to do something

  that person would not otherwise do or not to do something that the person otherwise would do.




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                                    3281
                 Part IX - False Declarations Before the Grand Jury (Counts 26-34)
                Instruction No. 88: The Nature of the Offense Charged—Counts 26-34

           The final set of substantive charges are the counts for false declarations before a grand

  jury.

           Count Twenty-Six
           Count Twenty-Six of the First Superseding Indictment charges that on or about May 7,

  2018, in the Western District of Virginia, ASHLEY TIANA ROSS, while under oath and

  testifying in a proceeding before a Federal Grand Jury of the United States in the Western

  District of Virginia, knowingly did make a false material declaration. That at the time and place

  alleged, Ashley Tiana Ross, appearing as a witness under oath at a proceeding before the grand

  jury knowingly made the following declaration in response to questions with respect to the

  material matter as follows:


           Q.      And when you woke up that day at your apartment in North Hills Court,
                   who was there?
           A.      Me, Tanasia, and Tredarius and Harmony.
           Q.      No one else?
           A.      No.
           Q.      And that did you do that day? So you woke up?
           A.      I woke up, me and Harmony got dressed and we left. We left.


           The testimony of ASHLEY TIANA ROSS, as she then and there knew and believed, was

  false.

           All in violation of Title 18, United States Code, Section 1623.


           Count Twenty-Seven
           Count Twenty-Seven of the First Superseding Indictment charges that on or about May 7,

  2018, in the Western District of Virginia, ASHLEY TIANA ROSS, while under oath and

  testifying in a proceeding before a Federal Grand Jury of the United States in the Western

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                                    3282
  District of Virginia, knowingly did make a false material declaration. At the time and place

  alleged, ASHLEY TIANA ROSS, appearing as a witness under oath at a proceeding before the

  grand jury knowingly made the following declaration in response to questions with respect to the

  material matter as follows:


           “Q.     And when she picked you up, did she have anything with her?
           A.     No, besides balloons and stuff, that’s it.
           Q.      And you went from your apartment to where?
           A.      I think we went straight to Megabounce, yeah, straight to Megabounce.
           Q.      And when you left your apartment, who was in your apartment?
           A.      Tanasia and Tredarius.
           Q.      Anyone else?
           A.      No.”


           The testimony of ASHLEY TIANA ROSS, as she then and there knew and believed, was

  false.

           All in violation of Title 18, United States Code, Section 1623.



           Count Twenty-Eight
           Count Twenty-Eight of the First Superseding Indictment charges that on or about May 7,

  2018, in the Western District of Virginia, Ashley Tiana Ross, while under oath and testifying in a

  proceeding before a Federal Grand Jury of the United States in the Western District of Virginia,

  knowingly did make a false material declaration. Atthe time and place alleged, Ashley Tiana

  Ross, appearing as a witness under oath at a proceeding before the grand jury knowingly made

  the following declaration in response to questions with respect to the a material matter as

  follows:


           “Q.    And you went to Megabounce and how long were you there?
           A.     It felt like all day. It was about all day, because I didn’t come back home until like
                  10:00, maybe a little after 10:00. Because after we left Megabounce, we went to

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                                    3283
                 Pizza Hut and stayed at Pizza Hut until it closed.

         *       *      *

         Q.      And how long were you at Pizza Hut?
         A.      Until they closed.
         Q.      Until close?
         A.      Yes.”
         The testimony of Ashley Tiana Ross as she then and there knew and believed, was false.

         All in violation of Title 18, United States Code, Section 1623.


         Count Twenty-Nine
         Count Twenty-Nine of the First Superseding Indictment charges that on or about May 7,

  2018, in the Western District of Virginia, Ashley Tiana Ross, while under oath and testifying in a

  proceeding before a Federal Grand Jury of the United States in the Western District of Virginia,

  knowingly did make a false material declaration. At the time and place alleged, Ashley Tiana

  Ross, appearing as a witness under oath at a proceeding before the grand jury knowingly made

  the following declaration in response to questions with respect to amaterial matter as follows:

         “Q.     I’m asking you as you sit here today under oath before this Grand Jury, who was
         in your apartment the night Mouse was killed?
         A.      Okay, no, Deshaun was not there.
         Q.      Deshaun was not there?
         A.      No.”
         The testimony of Ashley Tiana Ross as she then and there knew and believed, was false.

         All in violation of Title 18, United States Code, Section 1623.


         Count Thirty
         Count Thirty of the First Superseding Indictment charges that on or about May 7, 2018,

  in the Western District of Virginia, Ashley Tiana Ross, while under oath and testifying in a

  proceeding before a Federal Grand Jury of the United States in the Western District of Virginia,

  knowingly did make a false material declaration. At the time and place alleged, Ashley Tiana

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                                    3284
  Ross, appearing as a witness under oath at a proceeding before the grand jury knowingly made

  the following declaration in response to questions with respect to amaterial matter as follows:

         “Q.     Was MC there?
         A.      No.”
         The testimony of Ashley Tiana Ross as she then and there knew and believed, was false.

         All in violation of Title 18, United States Code, Section 1623.


         Count Thirty-One
         Count Thirty-One of the First Superseding Indictment charges that on or about May 7,

  2018, in the Western District of Virginia, Ashley Tiana Ross, while under oath and testifying in a

  proceeding before a Federal Grand Jury of the United States in the Western District of Virginia,

  knowingly did make a false material declaration. At the time and place alleged, Ashley Tiana

  Ross, appearing as a witness under oath at a proceeding before the grand jury knowingly made

  the following declaration in response to questions with respect to amaterial matter as follows:

         “Q.     From where? Where are the gunshots coming from?
         A.      From the outside.
         Q.      Outside?
         A.      Yes.
         Q.      Some of them weren’t coming from inside your apartment?
         A.      No.”
         The testimony of Ashley Tiana Ross as she then and there knew and believed, was false.

         All in violation of Title 18, United States Code, Section 1623.


         Count Thirty-Two
         Count Thirty-Two of the First Superseding Indictment charges that on or about May 7,

  2018, in the Western District of Virginia, Ashley Tiana Ross, while under oath and testifying in a

  proceeding before a Federal Grand Jury of the United States in the Western District of Virginia,

  knowingly did make a false material declaration. At the time and place alleged, Ashley Tiana

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                                    3285
  Ross, appearing as a witness under oath at a proceeding before the grand jury knowingly made

  the following declaration in response to questions with respect to a material matter as follows:

         “Q.     Were there shell casings in your living room?
         A.      No.
         Q.      There were no shell casings in your living?
         A.      No, I didn’t, it was dark. I didn’t see nothing.
         Q.      Did you see shell casings in your living room later that night or the next day?
         A.      No.
         Q.      And you didn’t help pick up any shell casings and dispose of them?
         A.      No.”
         The testimony of Ashley Tiana Ross as she then and there knew and believed, was false.

         All in violation of Title 18, United States Code, Section 1623.


         Count Thirty-Three
         Count Thirty-Three of the First Superseding Indictment charges that on or about May 7,

  2018, in the Western District of Virginia, Ashley Tiana Ross, while under oath and testifying in a

  proceeding before a Federal Grand Jury of the United States in the Western District of Virginia,

  knowingly did make a false material declaration. At the time and place alleged, Ashley Tiana

  Ross, appearing as a witness under oath at a proceeding before the grand jury knowingly made

  the following declaration in response to questions with respect to a material matter as follows:

         “Q.     Did you ever see Javontay Holland that night?
         A.      Who?
         Q.      Tay Holland.
         A.      Okay.
         Q.      Your best friend.
         A.      No.
         Q.      You talked about him earlier, right?
         A.      Yeah.
         Q.      Did you ever see him that night?
         A.      No.”
         The testimony of Ashley Tiana Ross as she then and there knew and believed, was false.

         All in violation of Title 18, United States Code, Section 1623.

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                                    3286
         Count Thirty-Four
         Count Thirty-Four of the First Superseding Indictment charges that on or about May 7,

  2018, in the Western District of Virginia, Ashley Tiana Ross, while under oath and testifying in a

  proceeding before a Federal Grand Jury of the United States in the Western District of Virginia,

  knowingly did make a false material declaration. At the time and place alleged, Ashley Tiana

  Ross, appearing as a witness under oath at a proceeding before the grand jury knowingly made

  the following declaration in response to questions with respect to a material matter as follows:

         “Q.     Who is Jermay?
         A.      He be with Phillip and them. All of them. They all grew up together.

         *       *      *

         Q.      Was he at North Hills Court the night Mouse was killed?
         A.      No, no. No.”
         The testimony of Ashley Tiana Ross as she then and there knew and believed, was false.

         All in violation of Title 18, United States Code, Section 1623.




  AUTHORITY: First Superseding Indictment.




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                                    3287
       Instruction No. 89: The Statute Defining the Offense Charged—Counts 26-34

       Section 1623 of Title 18, United States Code, provides in pertinent part:

       Whoever under oath. . .in any proceeding before [a] grand jury of the United
       States knowingly makes and false material declaration . . .

       Shall be guilty of an offense against the United States.




  AUTHORITY: Title 18, United States Code, Section 1623.




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                                    3288
      Instruction No. 90: The Essential Elements of the Offense Charged—Counts 24-34

         In order to sustain its burden of proof for the crime of making false declaration before

  grand jury as charged in Counts Twenty-Four through Thirty-Four of the First Superseding

  Indictment, the government must prove the following elements beyond a reasonable doubt:

         One          The defendant testified under oath before a federal grand jury;

         Two          The testimony was false;

         Third        That the defendant acted knowingly, that is to say, the defendant knew the

                      testimony was false – it did not result from confusion or mistake but was

                      intended to deceive the fact finder; and

         Fourth       That the false testimony was material.




  AUTHORITY: Eric Wm. Ruschky, Pattern Jury Instructions for Federal Criminal Cases,
  District of South Carolina 18 U.S.C. § 1623 (2018 Online Edition); United States v. Stotts, 113
  F.3d 493 (4th Cir. 1997); United States v. Dunnigan, 507 U.S. 87 (1993); United States v. Smith,
  62 F.3d 641 (4th Cir. 1995);United States v. Wilkerson, 137 F.3d 214, 224 (4th Cir. 1998) (en
  banc); United States v. Friedhaber, 856 F. 2d 640, 642 (4th cir. 1988) (en banc).




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                                    3289
                          Instruction No. 91: Definition of “Materiality”


          A statement is material if it has a natural tendency to influence, or is capable of

  influencing, the decision of the body to which it was addressed. It is irrelevant whether

  the false statement actually influenced or affected the decision-making process. The

  capacity to influence must be measured at the point in time that the statement was

  made.




  AUTHORITY: United States v. Sarihifard, 155 F.3d 301, 306 (4th Cir. 1998).




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                                    3290
  Part XII - Concluding Instructions Verdict—Election of Foreperson—Duty to Deliberate—
        Unanimity—Punishment—Form of Verdict—Communication with the Court

         Upon retiring to your jury room to begin your deliberation, you must elect one of your

  members to act as your foreperson. The foreperson will preside over your deliberations and will

  be your spokesperson here in Court.

         Your verdict must represent the collective judgment of the jury. In order to return a

  verdict, it is necessary that each juror agree to it. Your verdict, in other words, must be

  unanimous.

         It is your duty as jurors to consult with one another and to deliberate with one another

  with a view towards reaching an agreement if you can do so without violence to individual

  judgment. Each of you must decide the case for himself and herself, but do so only after an

  impartial consideration of the evidence in the case with your fellow jurors. In the course of your

  deliberations, do not hesitate to reexamine your own views and to change your opinion if

  convinced it is erroneous. Do not surrender your honest conviction, however, solely because of

  the opinion of your fellow jurors or for the mere purpose of thereby being able to return a

  unanimous verdict.

         Remember at all times that you are not partisans. You are judges – judges of the facts of

  this case. Your sole interest is to seek the truth from the evidence received during the trial.

         Your verdict must be based solely upon the evidence received in the case. Nothing you

  have seen or read outside of court may be considered. Nothing that I have said or done during

  the course of this trial is intended in any way to somehow suggest to you what I think your

  verdict should be. Nothing said in these instructions and nothing in any form of verdict, is to

  suggest or convey to you in any way or manner any intimation as to what verdict I think you



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                                    3291
  should return. What the verdict shall be is the exclusive duty and responsibility of the jury. As

  I have told you many times, you are the sole judges of the facts.

         The punishment provided by law for the Offenses Charged in the First Superseding

  Indictment is a matter exclusively within the province of the Court and should never be

  considered by the jury in any way in arriving at an impartial verdict as to the Offenses Charged.

         A form of verdicts has been prepared for your convenience.

         You will take this form to the jury room and, when you have reached unanimous

  agreement as to your verdicts, you will have your foreperson write your verdicts on the form,

  date and sign the form, and then return with your verdicts to the Courtroom.

         If it becomes necessary during your deliberations to communicate with the Court, you

  may send a note, signed by your foreperson or by one or more members of the jury, through the

  bailiff. No member of the jury should ever attempt to communicate with the Court by any

  means other than a signed writing and the Court will never communicate with any member of the

  jury concerning the evidence, your opinions, or the deliberations other than in writing or orally

  here in open court.

         Bear in mind also that you are never to reveal to any person – not even to the Court –

  how the jury stands, numerically or otherwise, on the question of whether or not the government

  has sustained its burden of proof until after you have reached a unanimous verdict.




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